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               EXHIBIT 7B
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            National            Association                 of     Insurance                Commissioners),                 (c) to      the        extent     required           by    applicable         laws      or
            regulations              or        by any            subpoena             or     similar  legal             process,        provided             that    if    legally  permissible,                 such
            Noteholder               or        the Administrative                      Agent,   as app|icable,                       shall     use      commercially             masonable     efforts              to
            provide          prompt            notice       to the Issuer              prior to such disclosure                    and if not possible, promptly   thereafter,                              (d) in
            connection     with the exercise      of any remedies      hereunder                                                 or under the other Finance      Documents                                 or any
            suit, action or proceeding      relating   to the enforcement      of its rights hereunder   or thereunder,   (c) subject to
            an agreement      containing   provisions    substantially    the same as those of this Section      9.16, to (i) any actual
            or prospective     assignee  of or participant     in any of its rights or obligations     under this Agrêcmcat      and the
            other Finance      Documents     or (ii) any actual or prospective        counterparty  (or its advisors)   to any swap or
            derivative     transaction   relating to the Issuer, the Guarantor  or any Subsidiary   or any of their respective
            obligations,      (f) with the consent   of the Issuer or (g) to the extent  such Information   becomes    publicly
            available     other than as a result of a breach of this Section       9.16.   For the purposes   of this Section,
            "Information"
                                  shall mean all information    received from the Issuer or the Guarantor   and related to the
            Issuer       or        the    Guarantor           or their business,  other than any such information          that was available     to the
            Administrative                 Agent         or any Noteholder     on a nonconfidential    basis prior to its disclosure   by  the Issuer   or
            the     Guarantor.                Any        Person requi ed to maintain     the confidentiality     of Information    as providcd    in  this
            Section          9.16        shall be considered                    to have          complied            with    its obligation             to do so If such Person                  has exercised
            the same           degree           of care to maintain                         the confidentiaWy                of such          Information            as such          Person     would      accord
            its own          confidential             information.

                             Section           9.17              Noteholder                 Action.           Each Noteholder              agrees that it shall not take or institute any
            actions      or proceedings, judicial  or otherwise,  for                                                any right         or remedy     against  any Finance   Party or any
            other     obligor  under any of the Finance    Documents                                               (including            the exercise   of any right of setoff, rights on
            account           of     any banker's                  lien     or similar               claim      or other rights               of      self-help),       or institute    any actions    or
            proceedings,               or otherwise                 commence           any remedial                    pmeedums,               with      respect      to any property       of any such
            Finance    Party,              unless     expmssly                  provided   for herein                  or in any other                 Finance        Document,      without   the prior
            written       consent              of the Administrative                          Agent.          The    provisions            of this       Section       9.i7      are for the sole          benefit
            of the       Administrative                     Agent         and        shall      not afford           any     right     to,     or constitute              a defense       available        to, any
            Finance          Party.

                             Section           9.18              USA       PATRIOT                    Act      Notice.          Each         Noteholder             and    the     Administrative              Agent
            (for    itself      and not on behalf              of any Noteholder)                                hereby notifies      the Issuer and the Guarantor    that pursuant
            to the requirements                       of the USA PATRIOT        Act,                             it is required     to obtain,  verify and record infGrmation    that
            identifies          the Issuer            and the Guarantor,                       which          information      includes    the name and address of the Issuer and
            the     Guarantor              and        other  information                      that     will     allow       such       Notebofder             or the       Administrative               Agent,      as
            applicable,             to identify           the Issuer            and the Guamntor                      in accordance             with        the USA        PATRIOT              Act.

                             Section           9.19            Payment                Suspension            pr Gessation.       Any Noteholder                                shall     have     the    right,     but
            not obligation,   and                     for      its account              only,         to issue written    instructions to the                             Issuer      to suspend          or cease
            payment     of amounts                      due        under     Notes            or this         Agreement          if the payment                obligations            of the Issuer        to such
            Noteholder               under         the      Notes          or        this     Agicemcat              violates         applimble              law.         Upon         eceipt      of    any     such
            instructions,                the     Issuer          shall     comply  therewith                     in respect           of     the      Note     of    the      Noteholder           issuing  such
            instruction             and reserve               any        such payments   that                   are so suspended                    or ceased         (collectively,            the "Reserved
            Payments").                Notwithstanding                          any p ovision                  of this      Agreement             or any        Note     to the contrary,    failure  to
            make      such          Reserved    Payments                        in accordance                 with     the written            instruction           of the Noteholder     shall   not be
            deemed            a Default            or an Event                  of     Default         or a breach            or violation              in any respect of such                     Note        or this
            Agreement               nor entitle             the Notcholder                    or the Administrative                    Agent          to exercise any remedies                     with     respect
            to such          Note         or this        Agreement.              NotwWtanding         the foregoing,    such suspension      or cessation    of the
            Reserved               Payments            shall       not      be construed  as relieving,   cancelling    or  otherwise  forgiving   the   Reserved
            Payments               so     suspended                or     ceased or otherwise     relieve   the Isstler   of its other obligations      under thi


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            Agreemcat        and    to other      Nótehoidcrs;               provided,    that, notwithstanding       any             pi   vision   of the Note    or this
            Agreement        to    the    contrary,         for     so           as  such   suspension     or  cessation               continues, the rate    at   which
                                                                          long
            interest    under      such    Note       and     this       Agreement     shall     accrue        with     respect     to the amount   of the    Reserved
            Payments       shall    be adjüstêd        to be equal to the lessor of (i) 6.5% or (ii) a variable    rate per annum equal to
                                                         yield"
            the   "Money      market,        annual             as may from time to time be published           in the Wall Street Jouraat
            (currently     published         under     "Bonds,   Rates and Yields")     or if such informatlen      is no longer published,
            another    comparable           as shall be matüally
                                           rate                         agreed upon by the 1ssuer and the applical)le            Noteholder,
                      reasonably.     Such issuing        Noteholder    shall have the right at its scle discretion          to revoke     such
            acting
            instructions    and require    the Issuer to pay all amounts           then due and owing,     in which    case, the     Reserved
            Payments      and interest thereoti     at the app:jcable     rate set forth in the immediately     preceding      sentence shall
            be due to such Noteholder         not Iater than ten (10) Business         Days fo:|owing  the   1ssuer'sreceipt      of a written
            notice ofrevocation       ofsuch    instructions     fromsuch     Noteholder,


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                        IN   WITNESS                             the parties    hereto   have   caused   this    Agreement   to be duly   cxccutcd
                                            WHEREOF,
            by their    respective   authorized    officers      or directors   as of the Effective      Date.




            PETRÓLEOS             DE VENEZUELA,               S.A.,
            as Issuer




            Name:        . a Maria         aña
            Title       ice President     of Finance




            PDVSA PETRÔLEO,                 SA,
            as Guarantor




            By:                                          .....
            Name·
                          na . arí      España
            Tit     e Authorize      signatory
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            GE CAPITAL              EFS       AN    G, INC,
            as Admistrati                 t




             By:
             Name'                    N. Matteson
                       Cristopher
             Title:   Vice   Presidert




                                                          Sigmort pgt m NW Agnment
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            CE     CAP1TA                   F   AN    G, INC.,
            as Initial    Not




             By:
            Name:        Cristophcr     N. Matteson
             Title:   Vice      President




                                                             Signanceput asNate Aywement




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                                                                                                                                                                                           EXH1BITA

                                                                                             FORM               OF NOTE




                                                                        PETRÓLEOS                         DE VENEZUELA,                    S.A.


                         THIS        NOTE         HAS     NOT BEEN                      AND          W1LL  NOT BE REOISTERED                                       UNDER              THE      UNITED
            STATES           SECURITIES                ACT OF 1933,                     AS         AMENDED   (THE "SECURITIES                                    ACT"),   OR WITH   ANY
            SECURITIES                REGULATORY                        AUTHORITY                    OF ANY STATE   OR OTHER                                    JURISDICTION     OF THE
            UNITED             STATES           OF      AMERICA,                   THE             BOLIVARIAN                   REPUBLIC                 OF     VENEZUELA                     OR ANY
            OTHER              JURISDICTION.                THE                  HOLDER                    HEREOF,              BY        PURCHASING                          OR       OTHERW1SE
            ACQUIRING                 THIS        NOTE, AGREES                         TO    OFFER,                   SELL,      PLEDGE             OR OTHERWISE                         TRANSFER
            THIS      NOTE           ONLY         TO QUALIFlED                         INSTlTUTIONAL                          BUYERS           PURSUANT                   TO        RULE       144A         OF
            THE       SECURITIES    OR TO BUYERS ACT  PURCHASING                           A                                          PURSUANT                    'IO           REGISTRATION
            STATEMENT                   UNDER
                                        REGISTERED
                                                 THE    SECURITIES     ACT.    IN   ADDITION,      ANY   SUCH
            TRANSFERS    MUST OTHERW1SE     BE IN ACCORDANCE        WITH    ANY   APPLICABLE      SECURITIES
            LAWS OF ANY     STATE   OR OTHER   JURISD1CTION      OF THE UNITED        STATES    OF AMERICA,
            THE BOLlVARIAN     REPUBLIC  OF VENEZUELA      OR OTHER    APPLICABLE       JURISDICTION.



                                                                         6.5%      SENIOR                 GUARANTEED                   NOTE


                                                                                             Date:        May        13, 2016
            No.    R-I


                         FOR        VALUE          RECElVED,                    the     undersigned,                 PETRóLEOS                 DE VENEZUELA,                            S.A.      (herein
            called       the    "Issuer"),         a corporation                  (sociedad               anünima)            organized        under        the     laws       of the        Bolivarian

            Republic           of    Venezuela,             hereby         promises                to     pay    to    GE       CAPITAL               EFS         FINANCING,                   INC.,        or
            registered          assigns,         the        principal           sum          of      ONE         HUNDRED                  NTNETY-THREE                         M1LLION             NINE
                                                                                                                                                                                                 3/100™
            HUNDRED                   FIFTY-NINE                   THOUSAND                             SEVEN           HUNDRED                 SIXTY-THREE                         AND
            DOLLARS                 ($193,959,763.03),                   with      interest             (a) on the unpaid            principal           balance         thereof       based      on and
            wraputed            on the basis           of    the actual            number               of days       elapsed      on a year          of      365/366          days,    at a rate       per
            annum         equal       to six      and       one-half            percent           (6.5%),        payable         quarterly,         on     June         27,    2016     (the     "Initial
             Repayment              Date"),       and on each day                     in March,            June,      Septciab6r       and      December            described      on Exhibit   A
                                                                                                                                                                                          Date"
             hereto      occurring        after      the      Initial      Repayment                    Date    on or prior          to May          13, 2019           (the "Maturity

            and,      each   such       date on which                   payment         of        interest      is due,       including        the Maturity               Date, a "Repayment
            Date"),       or, if any such day is not a New                              York            Business       Day,     on the next           succeeding              New     York      Business

            Day following              the date        such      payment              is due, and (b) on any overdue                           payment            of principal,          any overdue
            payment   of interest,                payable         quarterly            as aforesaid              (or, at the option            of the registered                holder        hereof,       on

            demand),           at a rate        per annum               of eight        and        one-half          percent     (8.5%)        per     annum,           calculated           as set forth
            above.        The       principal      amount           of this       Note            shall    be due and payable                 on each           Repaymcat             Date     or, if any
            such  day is not a New                     York       Business             Day,         on the next          succeeding           New        York      Business            Day     following
            the date such payment                    is due,       in installments,                     with    each     installment          being      equal      to the arsoüiits             set forth




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             on Exhibit          A hereto,          with         any unpaid          principal      and interest            on this       Note      not previously              paid     being     due
             and payable            in fall      on the Maturity               Date.


                        Payments            of    principal          and    interest       on this        Note       are to be made                in United          States      dollars       to the
             Ad ministrative            Agent           (at its offices        at 800 Long              Ridge     Road,       Stamford,           CT 06927).


                        This     Note       is one of the Notes                  (herein        called     the "Note")            issued       pursuant         to the Note            Agreement,
            dated       as of May             13, 2016           (as from       time     to time         emended,          the "Note           Agreement"),                among        the issuer,
            the Gê==r:ter,              the Administrative                  Agent        and the Initial             Netsholdêr           named       therein,        and the Noteholders

            party      thereto       from        time     to time,       and is entitled           to the benefits              and      is otherwise          subject      to the provisions
            thereof.       Capitalized             terms         used herein           and not defined             shall      have       the same        racardags         when        used herein
            as in the Note            Agreement.


                        This     Note         is a registered            Note      and,     as pmvided               in the Note           Agreement,              upon     surrender           of this
            Note      for registration             of transfer,        duly endorsed,               or acoompanied                 by a written            instrument          of transfer        duly
            executed,          by the registered                  holder   hereof or such                  holder's         attorney        duly     authorized            in writing,          a new
            Note      (or, subject          to the provisions               of Section           2.1I     of the Note            Agreement,          new       Notes       with      an aggregäte
            principal          amount         equal        to the      principal         amount          of this      Note)       will     be issued         to,     and      registered         in the
            name       of, the transferor,                the transferee           or the transferees,               as the case may              be. Prior        to due presentment               for
            registration         of transfer,              the     1ssuer      may      treat    the person           in    whose         name      this     Note      is registered            as the
            owner       hereof       for the purpose                of receiving           payment          and for all other              purposes,        and the issuer              will    not be
            affected       by any notice                to the contrary.


                        This     Note       is subject           to optional       prepaymeral,            in whole         or from        time     to time        in part.


                        If an Event           of Default,            as defined          in the Note            Agreement,            occurs       and     is continuing,            the principal
            of this     Note,       together        with         all âccrúed       and unpaid             interest     hereon,        may      be declared           or otherwise              become
            due and payable                 in the rnanner,            and with         the effect        provided          in the Note           Agreement.


                        THIS        NOTE,           AND            THE         RIGHTS            AND         OBLIGATIONS                       OF        THE        ISSUER             AND        THE
            NOTEHOLDER                      HEREUNDER                      SHALL         BE OOVERNED                       BY,     AND         SHALL           BE CONSTRUED                      AND
            ENFORCED                   IN        ACCORDANCE                        WITH,           THE           LAWS            OF       THE        STATE             OF         NEW          YORK
            (INCLUDING                  SECTIONS                  5-1401       AND        5-I402         OF THE            GENERAL              OBLIGATIONS                     LAW         OF THE
            STATE              OF       NEW               YORK,             WHICH                THE            ISSUER,            THE            NOTEHOLDER                         AND          THE
            ADMINISTRATIVE                              AGENT              EXPRESSLY                    INTEND             TO      APPLY),               WITHOUT                REGARD              TO
            CONFLICTS                 OF       LAWS          PRINCIPLES                  THAT           WOULD              REQUIRE             APPLICATION                     OF      ANOTHER
            LAW,


                                                                                                           PETRÓLEOS                     DE VENE2;UELA,                       S.A.




                                                                                                           By
                                                                                                                  Name:
                                                                                                                  Title:
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                                                                 Exhibit    A
                                                                     To
                                           6.5%   SEpiloR        GUARANTEED               NOTE


                  Repayment        Date             Priiicipal        Amount        Due           Interest   Due

                   June      27, 2016                       $16,163,313.59                       $ 1,554,335.09
                Septcnibcr      27, 2016                    $16,163,313.59                       $ 2,912,939.09
                 December       27, 2016                    $16, t63,3      13.59                $ 2,619,342,46

                   March     27, 2017                       $16,163,313.59                       $ 2,331,502.63

                   Ane       27, 2017                       $16,l    63,313.59                   $ 2,1 18,501.16

                September       27, 2017                    $16,l    63,313.59                   $ 1,853,688.51

                 December      27, 2017                     $16,163,313.59                       $ 1,571,605,48

                   March     27, 20 t 8                     $16,163,313.59                       $ 1,295,279,24

                   June      27, 2018                       SI6,163,313.59                       $ 1,059,250.58

                September       27, 2018                    $16,163,313.59                         $ 794,437.93

                 December      27, 2018                     $16,163,313.59                         $ 523,868.49

                  March                                                -                           $ 259,055.85
                             27, 2019
                             13, 2019                       $16,163        313.59                  $ 135,284.72
                    May
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                                                                                                                                                                         EXH1BIT       B
                                                        FORM        OF.ASSIGNMENT                      AND AÇÇEPTANCE

            This Assignment            and Acceptañüé           (this "Assionment")      is dated as of the Effective                            Date       set forth     below     and
            is entered      into  by and between               [**Insert   name of Assignor**]       (the "Assignor")                               and      [**lnsert       name      of
            Assignee**]        (the "Assignee").               All capitalized      terms used but not otherwise                                 defined        herein      have     the
            meanings        given      to them     in the Note         Agn:ement
                                                                           identinêd     below    (the "Note  Agreement"), receipt of a
            copy of which is hereby acknowledged                by the Assignee,     The Standard      Terms and Conditiom  set forth in
            Annex   1 attached hereto (the "Standard              Terms and Comlitions")         are hereby agreed to and incorporated
            herein      by reference       and made a part of this Assignment     as if set forth herein in full.

            For an agreed    consideration,  the Assignor   hereby irrevocably   sells and assigns to the Assignee,     and the
            Assignee   hereby irrevocably   purchases   and assumes from the Assignor,      subject to and in accordance   with
            the Standard   Terms and Conditions     and the Finance   Documents,    as of the Effective  Date set forth below,
            the interest     in and to all of the Assignor's                    rights     and obligations           under     the Note          Agreement           (or, if a Note
            has been       transferred       to an Assignee            in part,          a portion         thereof    equivalent           to the    portion         of such Note
            transferred      to the Assignee),           the other       Transaction           and any other agreements,
                                                                                                 Documents                     den=ents       or
            instruments       delivered       pursuant   thereto or for the benefit ofthe    Noteholders   relating  thereto  that represents
            the   amount      identified       below   of all of the Assignor's    outstanding    rights and obligations     under the Note
            identiñed       below   (collectively,     the "Assigned     Interest").   Such sale and assignment     is without   recourse                                              to
            the Assignor       and,   except     as expressly   provided    in this  Amignment,  without  representation     or warranty                                              by
            the Assignor.


            (a)             Assignor:

            (b)             Assignee:

            (c)             Issuer:                                         PetróIeos           de Venezuela,          S.A.

            (d)             Administrative          Agent                   GE       Capital          EFS    Financing,       Inc.,       as administrative              agent    under
                                                                            the Note            Agreement

            (e)             Note      Agreement                             The          Note       Agreement,       dated     as of  May           10, 2016 (as the same
                                                                            may be amended,   restated,                      supplemcñted            or otherwise modified
                                                                            from time to time in accordsñ©e                           with its terms), by and among
                                                                            PetróIeos  de Venezuela,   S.A.                     as Issuer,    PDVSA    Petró1eo, S.A.,
                                                                            as Guarantor,  the Noteholders                       that are a party thereto from time
                                                                            to time and GE Capital     EFS Financing,                               Inc.,     as Administrative
                                                                            Agent.

            (f)             Assigned        Interest:                       Unpaid              principal        balance       of     S                 on     the       Note      dated

                                                                            [                          1, 20[.._}       in    the     original        principal           amount       of
                                                                            $f                  I

            (g)             Account        for Payments:                    f                          1


            Effective      Date:                               _,     20___

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           The terms   set forth   In this   Assignment   are hereby   agreed   to:




           ASSIGNOR
            [**NAME    OF ASSIONOR**]




            By:
            Name:
            Tide:




           ASSIGNEE
            [**NAMB    OF ASSIONEE**]




            By:
            Name:
            Title:




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                                                                                                                                                                               ANNEX

                       NOTE        AGREEMENT,                     DATED       AS OF MAY                   10, 2016,      BYAND           AMONG           PETRÓLEOS                DE
                          VENE3UELA,                S.A., AS ISSUER,                   PDVSA              PETRÓLEO,          S.A.,       AS OUARANTOR,   THE
                 NOTEHOLDERS                   THAT    ARE A PARTY                    THERETO                  FROM      TIME10           TIME AND OE CAPITAL                          EFS
                                                         FINANCING,                 INC.,     AS ADMINISTRATIVE                          AOENT

                                               STANDARD                TERMS          AND CONDITIONS                          FORASSIGNMENT
                                                                                     AND ACCEPTANCE

            l.            Representations                and      Warrantles

            1.1           Assignor

                         The       Assignor        (a)     represents         and      warrants           that   (1) it is the       legal        and    beneficial      owner         of   the
                          Assigned         Interest,       (ii)     the Assigned             Interest       is free and clear         of any lien, encumbrance     or other
                          adverse        claim      and     (iii)  it has full          power           and      authority,      and has taken all action    necessary,    to
                         execute         and     deliver      this Assigr,mera                and     to consumrcatc              the transactions contemplated     hereby;
                         and (b) assumes no responsibility                            with      respear to (i) any statements,  warranties     or representations
                         made   in or in connection     with                          the      Note   Agreement    or any other    agreement,       instrument     or
                         document          delivered           pursuant       thereto         or for the benefit  of the Noteholders     relating    thereto,  other
                         than      this Assignment                (collectively,       the "Finance          Documents"),   (ii)                the execution,        hegality,    validity,
                         enforceability,            genuineness,             sufficiency             or value   of the Finance   or any collateral
                                                                                                                                                 Documents,
                         thereunder,     (iii) the financial                 condition
                                                                            of the 1ssuer, the Guarantor,     any   of   the  Subsidiaries     or any
                         of    their respective    Affiliates    in respect     of any   Finance  Documcat,     or    (iv)   the   perfo--            or
                         observance                           the                                Subsidiaries    or           of  their    respective
                                          by the Issuer,            Guarantor,     any of the                          any
                         Affiliates    of any of their aspective       obligations     under any Finance Document.

            1.2           Assignee

                          The Assignee        (a) represents  and warrants                           that      (i) it has full     power        and authority,        and has taken            all
                          action      necessary,   to execute   and dellyer                             this     Assignment        and     to     consummate           the    transactions
                          contemplated          hereby and to become a Noteholder            under the Note Agracmcat,       (ii) it is [an Eligible
                                                                Institution]'
                          Institution      / not an Eligible                      and is not an Ins|igibIc  Tiansfeme,  (iii) from and after the
                          Effective       Date,   it shall be bound      by   the provisions of the   Note Agreement   and, to the extent of the
                         Assigned          Interest, shall have the obligations    of a Noteholder    thereunder,     and (iv) it has received a
                                    of    the   Note Agreement,     together    with   copies   of the most       recent    financiâI statements
                         copy
                         delivered         pursuant   to Section  544 thereof     and such other documents           arid information    as it has
                          deemed         appropriate         to make         Its own        credit      analysis      and decision         to enter      into    this Assignment            and
                          to purchase            the Assigned            Interest     on the basis               of which        it has made        such    analysis         and decision;
                          and (b) agrees that (i) it will,   independently   and without reliance  on the Administrative      Agent, the
                          Assignor    or any other Noteholder,      and based on such documents    and information      as it shall deem
                          appropriate    at the time, continue    to make its own credit decisions     in taking  or not taking action
                          under the Finance      Documents.     and (ii) it wiII perform in accordance     with their terms all of the
                          obligations          which       by the terms            of the Finance               Documents         are required          to be performed           by it as a
                          Noteholder.




                 Select one as applicable.


                                                                                                      C-2-3
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           2,    Payments

                 Frorn     and after      the Effective        Date, the Add=Mrstive       Agent shall make all payments     in respect of
                 the     Assigned         Interest     (including     psymsñts    of principal,  interest    and other  amounts)    to the
                 Assignor        for    amounts        whiob     have accrued   up to but excluding       the Effective  Date and to the
                 Assignee        for amounts          which have acorued from and after the Bffective          Date.

           3.    General      Provisions

                 This    Assignment           shall     be binding      upon, and inure to the benefit  of, the parties hereto and their
                 respective       secresears          and permitted      assigns.  This Amignment   may be executed     in any number of
                 counterparts,          which    together     shall    oonstitute one instrument. Delivery    of an executed  counterpart
                 of a signatürs          page of this Assignment             by telecopy           and elcetronic      mail   shall    be equally effective
                 to the delivery    of a mamm!ly                    executed   counterpart          of   this   Assignment.       THIS     ASSIGNMENT
                 AND THE         RIGHTS   AND                 OBLIGATIONS                 OF   THE         PARTIES       HEREUNDER             SHALL     BB
                 GOVERNED                BY,     AND       SHALL        BE    CONSTRUED                  AND     ENFORCED             IN   ACCORDANCE
                            THE        INTERNAL            LAWS        OF THE      STATE       OF NEW           YORK     (INCLUDING           SECTION         5-
                 WITH,
                 1401       OF      THE         GENERAL          OBLIGATIONS                LAW          OF     THE     STATE         OF   NEW     YORK),
                 WITHOUT               REOARD         TO CONFL1CTS                OF LAWS          PRINCIPLES.

                                                       [remainder       of page    intentionally         left blank]




                                                                                  c-2-4
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                                                                                                                                                            Schedule       2.08




                       A_C.COUNTS                 OF     ADMINETIVE                            AGENT             AN-D      INITIAL          NOTEHOLDER


           Account            of Administrative            Agent:


           Legal       Entity          Name:                     GE Capital           EFS Financing,            Inc.
            Account           Title:                             GEC EFSF,            Inc     Loan       COE      - EFS
            Bank:                                                Deutsche        Bank        Trust                        Americas
                                                                                                        Company
            Bank       Branch          Code:                     DEUTUS-021001033
           ABA         Routing:                                  021001033
           SWIFT:                                                BKTRUS33
           Currency:                                             USD
            Country:                                             US
           National           Account          Number:           50292590


           Issuer       is to provide,            at the time      of each      cash     transfer,       all    the related        infonnation       for   its proper

            identification,             including,       but not      limited     to bank        account         source     of the funds,        swift     code   and
            amount.


           Account         of Initial          Notehg    jder:


            Legal      Entity          Name:                     GE Capital           EFS Fir.ancing,           Inc.
            Account           Title:                             GEC EFSF,            Inc     Loan       COE      - EFS

            Bank:                                                Deutsche        Bank        Trust      Company           Americas
            Bank       Branch          Code:                     DEUTUS-021001033
            ABA        Routing:                                  021001033
            SWIFT:                                               BKTRUS33
            Currency:                                            USD
            Country:                                             US
           National           Account          Number:           50292590


            Administrative                Agent      is to provide,       at the time          of each         cash    transfer,     all   the related     information

            for    its proper          identification,       including,         but    not    limited      to bank        ãcccüñt      source     of the    funds,       swift

            code     and      amount.




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                                                                                                                                Bohedule101(h)

                                                                          SUBSIDIARIES

                                                                       Corporate       Structu    e

                            The       fellowitig    chart    summarizes        our corporate      structure:


                                                     Per6Ieos          de

                                                   Venezuela.          $A




                       Orpendfm             Rw5A                ICV                                   Prep n
                                                                             RW        mg                                pME(&uba)
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                           Mxtas                                                                       WIaa‡                (Aube)
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             oude andGas Assetsfa Venezude             B---•ñE-aua           Areas In            Éumpean and        Other Assets Inct

                                                            Entities          North               Caribbean         Ikading Companie




                                                                                                                                                     :
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                                                                                                                                                                                   Schedule          3.01(i)


                                                                                              LITIGATION
           LegalProceedings


           MobH        Cerro         Negro         Ltd.


                         On          January   27, 2008,    a subsidiwy                         of     ExxonMobil,                Mobil      Cerro            Negro         Ltd.        ("Mobil        Cerro
           Nçgro")           filed      an arbitration   request  before                       the     International          Court         of    Arbitration               of     the      International
           Chamber           of Commerce                   against      Perróleos          de Venezuela,          S.A. ("PDVSA")                       and PDVSA                 Cerro      Negro, S.A.
           ("PDVSA             Cerro     Negro"),      eIaiming     an entitlement                           to indemnity    from                PDVSA             Cerro           Negro      under the
           a.sseeistiori           agreement    relating    to  the  Cerro Negro                             Project  (the "Cerro
                                                                                                                              Negrg  associatiori   Agreement")
           and from          PDVSA            under         the terms  of a guaranty                  granted by PDVSA   ofPDVSA     Cerro  Negro's   obligations
           under       the     Cerm         Negro          Association    Agreement.                     In December  2007,  Mobil  Cerro Negm      had obtained
           from       the United           States         District     Court       for the Southern             District     ofNew          York         an attachment                  order       on funds
           of   PDVSA           Cerro        Negro,  deposited                    in accounts         held    in the Bank           ofNew              York      Mellon.               Pursuant       to that
           order,     US$300               million  of PDVSA                       Cerro      Negro       funds      remained             attached     pending                   completion            of   the
           arbitration    procedure.                     on January   24, 2008, Mobil
                                                          Additionally,                  Cerro                   obtained    ex parte a            Negro   had
           worldwide      freezing  order from the High Court of Justice in London,       restricting    PDVSA      from disposing    of
           certain    assets and ordering    it to maintain,  on a global   basis, assets having      an aggregate     value of US$12
           billion.     However,    the High Court      of Justice  vacated   the or ler on March        18, 2008, upon PDVSA's
           application.      Ex parte atachmet      orders were also obtained      by Mobil    Cerro Negro in The Netherlands,

           attaching the shares of a subsidiary,  and The                                       Netherlands           Antilles        and        Aruba,         which        have not             interfered
           with PDVSA's    ordinan  course ofbusiness.


                         Although             the provisional                 measures        proceedings           in the national              courts         were        based        on an alleged

           indemnity            claim         of      US$12            billion,       Mobil          Cerro      Negro        reduced             its     claim         in        the     arbitration           to

           approximately       US$6,5   billion  to US$7 billion, plus interest and costs.                                                        The     claim           in the arbitration                was
           for indemnification       under Article   XV of the Cerm Negro Association                                                            Agreement,                 which         provided          that
           PDVSA             Cerro         Negro            would        compensate             Mobil       Cerro   Negro,    subject   to                         certain             limitations,           fbr
                                                                                                          Measures"                                                                          impact"
           governmêmal                 actions        defined           as "Discriminatory                             having    a "Material                              Adverse                              on
           Mobil       Cerro          Negro        as defined           in the Association               Agreement.     Mobil    Cerro Negro                                claimed          that    various
           royalty,      tax and production                        cutback        measures        starting in 2004 as well                       as the migration                      process       of 2007
           which       required         all associations                operating          outside of the legal framework                         established           by the 2001 Organic
           Hydrocarbons                Law     to migrate             to the mixed           company         structure       under        thatlaw,            constituted    "Discriminatoiy
           Measures"                                                                                                                                                                              obligatim
                                as defined            in the Cerro            Negro        Association          Agreement,          triggering     the compensation
           of PDVSA                Cerro      Negro          and     PDVSA's          guaranty.           The hearing             on all issues in the arbitration                               concluded
           on September                24, 2010             and post-hearing               briefing      and the submission                  of costs            claims          was completed                 on

           January       24, 201L


                        The arbitral               tribunal          issued    its final      award      on December               23, 2011,           and the award                was delivered              to
           the parties         on December         30, 2011,   The tribunal  determined                                    that     PDVSA               and PDVSA
                                                                                                                                                       Cerro      Negrowere
                                                                                                                                                               Measures"
           liable     to Mobil          CerroNegro     in the amount   of US$907,581,000                                   with respect to "Discriminatory
           under       the     Cerro        Negro           Association            Agreement,            with      an offset   based upon countarcIaims       asserted   by
           PDVSA             and      PDVSA           Cerro          Negro        in the amount           of US$160,643,042.                       The         arbitral          tribunal        found      that
           PDVSA           Cerro       Negro         had not breached                 the Cerro         Negro      Association            Agreement               and that PDVSA                      had not
           breached          the guaranty and awarded   no pre-award     interest.   The tribunal   also did not awar I Mobil Cerro
           Negro        any     part of its cost claim.    The    tribunal     awarded   post-award     interest on the amount    of



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            USS736,937,958      at the New York       Prime Rate and granted PDVSA      Cerro Negro and PDVSA         60 days to
           pay   the  award,   Prior  to February    23, 2012, the monetary   aspect of the award was satisfied    in thtl by the
           release to Mobil      Cerro Negro      of the funds that were attached    in New York,    the cancelation     of Cerro
           Negro     project bonds that PDVSA        acquired  in 2007, and the payment    in cash by PDVSA     to Mobil    Cerro
           Negro of the balance.


                          The     New       York
                                     attachment     proceeding     was terminated     by a stipulation     and order dated June 6,
           2012       (the "St!pn!ation
                                    and prder")    pursuant     to which PDVSA       was joined     to the action and PDVSA        and
           PDVSA     Cerro Negro   agreed to (i) pay into the Venezuelan           Treasury   or otherwise      satisfy,  on behalf of
           Mobil   Cerro Negro, any tax liability   that may be imposed      by the Venezuelan         Government      on Mobil  Cerro
           Negro's   compensaticu  awarded     by the  tribunal   and/or Mobil    Cerro Negro's      income   from the Cerro Negro
           Project;   and (ii) hold Mobil     Cerro Negro harmless from any such tax liabilities,      including,   but not limited
           to, any   related   penalties, interest,   or  fees. A judgment to the same   effect was entered    on July 7, 2012.    In
           connection      with the resolution      of the New York attachment,     the attachment  orders in The Netherlands,
           The Netherlands       Antilles  and Aruba were vacated.


           PDV Sweeny                amf    ConocoPhilHps               Company


              .         On February               25, 2010,       PDV         Sweeny,  Inc. ("PDV                  Sweeny")              and PDV           Texas,     Inc. ("PDV           Texas")
           filed      a request  for              arbitration          with     the International                  Chamber               of     Commerce            (the   "ICC")           against
           ConocoPhillips              Company      ("ConocoPhillips")                          and Sweeny      Coker   Investor    Sub, Inc.             Sub"),   in ("Sweeny
           connection           with   the exercise    of a call option                       by ConocoPhillips      and Sweeny      Sub to purchase the interests
           of PDV     Sweeny and PDV Texas in the joint                                       venture for no consideration       (the "Call Option  Arbitration").
           PDV      Sweeny  and PDV Texas seek an award                                           declaring,      among          other         things, that the exercise    of the call
           option       was      invalid         and    ineffective            and         that they      are     entitled        to     their       interents in the joint    venture.
           Themafter,           on     August       16, 2010 (amended                        on September         29, 2010),   ConocoPhillips      filed a request    for
           arbitration          with       the    ICC   against PDVSA                         and     its wholly-owned       subsidiary     PDVSA       Petroleo,   S.A.,
           alleging       that       PDVSA           Petroleo,         S.A.,      breached            an obligation     under a crude       oil supply    agreement     to
           participate        in a joint         calculation       of an adjustment                   to the price        of crude            oil for the second            half   of 2008,     and
           all of 2009, and that as a result ConocoPhillips          suffered    damages    in excess of US$242      miltlon,    and further
           alleging  that  PDVSA,      as guarantor,    had  an obligation    to  indemnify     ConocoPhillips   for  such    damages    (the
           "Lççkhack      Ad justrpont   Arbitration").     On December       17, 2010, an arbitral     tribunal granted the request of
           PDVSA      and its affiliates      to consolidate    the Call Option        Arbitration    and the Lookback          Adjustment
           Arbitration.          On     February    4, 2011,    ConocoPhillips   resubmitted                                             its     claim      related        to    the     Lookback
           Adjustment            Arbitration     as a counterclaim    and submitted    two                                        additional             coüñ‡crclaims,           alleging  that
           PDVSA          Petr6leo,          S.A.,     under       a crude           oil     supply  agreement   and PDVSA                               as guarantor           were liable  for
           damages         caused       by their failure             to supply              crude oil during   the months  of January, March,                                          April,  June,
           July and August              2009, in excess             of US$16                million, as well as damages caused by demurrage,                                           in excess of
           US$3.3   million.               On    May 3, 201 1, the tribunal    and the parties signed the terms of reference,        and on May
           26, 2011,       the tribunal           issued a pmcedural    or ler, establishing     a schedule  for the arbitration. In accordarree
           with  that      procedural            order,  PDVSA    and its affiliates     submitted    their Statement    of Claim  on August     3,
           201 1, and         the Statement            of Defense              and     Counterclaim              was     filed     on December               20, 2011.           A hearing was
           coñducted          in December              2012,      An     arbitral           award     was      issued     on April      14, 2014              ordering          PDVSA        to pay
           approximately      US$5 million       in damages.   On February     I6, 2016,                                         ConocoPhillips               submitted          a certificate    to
           the tribunal      confirming       that   it had received      payment      from  PDV       Texas    and PDV     Sweeny     of
           US$4,027,594.55         and that accordingly        both PDV      Texas    and PDV     Sweeny      had  complied  with  their
           payment    obligations       in accordance     with  the arbitral   award.     The tribunal     has yet to issue a decision
           regarding       the reimbursement                    of legal       costs        incured      during        the proceedings.



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           OPIC        Arbitration


                             On    November                 19, 2010, Opic     Karimun    Corporation                                    ("OPIC")   filed  a request                   for        arbitration
           before       the laterreonal                     Court of Arbitration    of the Internadone!                                     Chamber    of Commerce                         in New           York,
           against          Corpcracióñ               Venezolana             del      Petráleo,         S.A.     ("C.VP")           and     PDVSA              under   the exploration                    at risk
           and      profit  sharing association                        agreements               relating       to the Gulf           of Paria          East and Gulf            of Paria           West       (the
           "Gulf       of Paria Agreements")                           and       PDVSA's             guaranties          of     CVP's          obligations         thereunder.             OPIC        alleges
           that       PDVSA     and CVP are                        liable         under        a variety         of    theories,          including    breach              of   the        Gulf      of     Parla
           Agreements            and the guarâütles,                       and seeks           damages           in the amount              of approximately                US$200            million         as a
           result      of     the migration  process                       of      2007        in accordance January     with
                                                                                                                        14, 201I,   Decree-Law                5,200.   On
           PDVSA       and CVP filed their Answer    to the Request for Arbitration.  Thereafter,  following     the constitution
           of the arbitral  tribunal and the establishment     of the terms of reference,   the parties have siáadGad           their
           initial briefs and haveengaged    in document    production.


                         A pre-hearing  briefmg on the matter                                       was completed                 on December               14, 2012 and a hearing on the
                        was held on January 21, 2013 through                                                                                                  submittad
           merits                                                                                    January    28, 2013.                 The    parties                  their post-hearing
           briefs      on      March           15, 2013.         Thereafter,   the                  Secretariat    of the                ICC         informed    the parties    that the ICC
           interwied                 Court          of Arbitration     has extended     for rersdêiiiig the time        limit
                                                                                                          the award untilNovember29,
           2013,       An      award      was issued on November    11, 20I3,  pursuant   to which     PDVSA    was ordered   to pay $81
           million.          PDVSA        has not made any payments   on this award.


           PDVSA             Petróleo

                                                                  9®                                                               with a
                      On July 30, 2007, the Venezuelan                Superior  Tax Court issued a decision      in connection
           recourse    filed    by PDVSA      i'ctelee,     S.A.   regarding    certain mlings  of   the  Venezuelan     tax    authority
           challenging      the deductibility     of a contribution        made   in compliance   with   Section    6 of the Organic
           Hydrocarbons        Law. Said decisian       held that only crude oil exports     weæ subject to dWction,         and that, in

           contrast, other hydrocarbons    products   or sub-products    were not allowed    to be deducted.     Although                                                                                      our
           management     and our legal advisors   understand   there are legal grounds  to uphold  said ruling,    we will                                                                                    file
           an appea1with                the Venezuelan                    Suprcrac           Tribunal        of Justice.         As of December              31, 2012           and December                    31,
           2011,       we      registered            allowancos            of      $673       million      for    contingencies                 in     espect of said           procedure             and       the
           potential           impact          it    may        have        in     other        deductions            made          in    relianco        of     Section        6     of     the      Organic
           Hydrocarbons                 Law.


                            As of December                    31, 2012            and     December           31, 2011,           we registered                allowances        of 568            million       for
           coritingencies             in respect             ofcertain           tax obligations
                                                                                         Petr6Ieo,           of PDVSA
                                                                                                          pertaining                                   S.A.                     to     1994,        1995 and
           1996   having    a 3415 mililon   aggregate    principal    amount.       In such connection,     we have made cash and in
           kind payments      by delivering   Reirebarssmsnt        Tax   Certificates    to  the  SENIAT     for an àggagate principal
           amount    of$682    million   and $13 million,    mspectively.


           Helmerich              & Pqyne            international                Drilling        Co. and Helmerich                      & Payne         de Venecuela               CA

                            On November                 29, 201 I, Helmerich                       & Payne            International             Drilling Co. and Helmerich    Bc Payne
           de Venezuela               C.A.,          f4ed a lawsuit   against                     the Bolivarian                Republic         of Venezuela,  PDVSA     and PDVSA

           Peteleo,           S.A.      before         the     United        States          District    Court         for    the    District         of Columbia,  seeking  recovery    of
           damages            in an as yet            unspecified            amount            for violation          of international                law and breach of contract   related
           to payment             disputes           over      drilling          services        provided.        A decision         confirming    jüri       tion was rendered                                  by
           the court          on September               20, 2013,                               the court       ruled        that as a Venezuelan      corporation,  Helmerich                                     &
                                                                             wheisby


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           Payne       de Venezuela            C.A.     must    be deemed          a citizen        of Venezuela          for purposes        of international         law.    With
           respect       to a motion        to dismiss         the breach        of contract         claim,     the court     ruled    that the alleged           breaches     have
           a direct      effect       in the United      States.    The       above      rulings     were      sppee!ed      by Helmerich         & Payne de Venezuela
           C.A.,       Venezuela         and    PDVSA.         A consolidated            common          appeal     is currently       pending     before         the U.S.    Court
           of Appeals           for the District        of Columbia,           regardingjurisdiction.


                         On November             27, 2015,         the p:ãintiffs         petitioned          the United      States    Supreme         Court      to review      the
           part     of the      sentence       issued     by the     First     Circuit      Court      of Appeals       on May   1, 2015 which    resulted                    in the
           denial       of    their    contractual       olaims.      On      December             23, 2015,      the deFandents   filed their opposition                     to this
           petition.          A decision       is pending.


           Other       Clahns;        Allowüñces        for    Contingencies

                             As of December           31, 2015, we were subject to other legal                             cinims      and   precedures         in the ordinary
           course       of business        having     an aggregate amount of $3,159 million.


                         As     of    December          31, 2013      and      December       31, 2014, we                registered       allowances       for    ceratingeñces

           having       an aggregete           amount     of $1,244          million     and $4.274 million,               respectively.




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                                                                                                                                                                Schedule         3.01(p)




                                                                                   ONMENTAL                  MATTERS

            Envirenment             and     Occupational             Health.       We and our subsidiaries                    am subject          to a complex
            envis um,-tal           and occupational               health   regulation        framework.
                                                                                              framework,             Under      this                         we and our
            subsidiaries    may be required to make significant   expenditures    to modify  our facilities                                                 and to prevent          or
            remedy     the effects of waste disposal, pollutant spills, and accidents  on the environment                                                     and the
            population's     health.


            We are taking important     steps to prevent risks to the environment,   the population's   health, and the
            integrity of our ½talkthns.      During   2012 and 2013, we continued     the impkmentation      of our coinpany-
            wide Integral  Risk Menegescat       System (SIR-PDVSA®).        The system is based on international     practices
            and standards,          such as ISO            14001     for Environmental               Management,             ISO       18000     and British      Standard
            BUSINESS            8800      for health,       and the Occupational               Safety      and Health          Administration              (OSHA)'s        and
            American          Petroleum        Institute     (APl)     for process          safety.


            We have invested              $42 million         to complete         the implementation                 of SIR-PDVSA®.                 In addition,        we are

           undertaking          an investmcat
                                          plan to comply         Venezuelan      with                             environmental           laws     under which          $88 million
           was invested  during 2011, $115 million       was invested during 2012 and $32 million    during the six months
           ended June 30, 20l3.    In addition,   CITGO    plans to invest approximately $291 million     for projects
           managing  environmental     risks  between   2013  and  2017.


           As part of our enviremental                   respansibility    initiative,                we have        also instituted           a plan     to recover     oil pits that
           were      left behind       from     oil exploraticñ     and production                   activities      until    2004.      Oil     pits    am excavations          made
           on the soil surface            to store      oil sh1dge      and drilling         cuts.      The plan        includes         the recovery, recycling             and
           transferisation          of the disposed           waste, Meluding abandoned    installations,                              in order to convert them              into
           financial       and environmenta!               assets. The plan was first implomcatcd        in 2001                           and has an expected               duration
           of twelve       years.      Since     2005,      a total    of 3,223      oil pits have been closed                   and restored.              In 2012, 565 oil pits
           were      closed     and restored.         As of December
                                                         3 1, 2012, the total amount of restored                                                        oil pits are 5,081.  In
           2012, 201 I and 2010, we registered remediation      and restoration expenses having                                                         an aggregate     amount          of
           $ 176 million, $217 million and $164 million,     espectively.


           Our  subsidiary   CITGO    has received    several notices of violation    from the EnviranmcñtâI           Protection
           Agency    of  the United States  and  other  government    authorities,   which     include   notices  of violation    under
           the Federal Clean Air Act that may lead to CITGO           being    deemed    liable, jointly   with  other   companics,     for
           remediation          of contamination             in respect        of certain     properties           pursuant     to the Compichcasive
           Environmental      Response,              Compensation
                                                            and Liability    Act.    Such notices of violation                                              are currently   being
           analyzed     by CITGO     and, in certain cases,  remediation     actions   are being performed.                                                CITGO     is committed
           to negotiate    and settle with the governmental      authorities    in aspect   of such matters.


           As of December              3 I, 2012, CITGO's               non-cur      ent liabilities          included        an environmental               accrual     of $135
           million     compared         with S127 million               as of December        31, 2011.   CITOO    estimates   a possible                              additional
           loss of $72 million             as of December             3 I, 2012      in coññêctics   with environmental      matters.


           On February           4, 2012, two surface pipelines    in the Venezuelan  state of Monagas     ruptured,   resulting in a
           spill of light       crude oil. The resulting  oil spill spread over a distance   of approximately      0.5 km to the


                                                                                         S-3.01(p)-1
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           GuarapMie          River.       A water     treatment       plant     that treats water
                                                                                           from the Guarapiche       River and provides    such
           water       to residents       of certain   areas of the state of Monagas    was temporarily       shut down while Petroleos     de

           Venezuela,      S.A. ("PDVSA")               contained   and M±±d        a clean-up     of the oil spill. During   such  shut down,
           PDVSA      distributed   potable            water to residents of the affected    areas. In consultation     with experts, PDVSA
           depicycd        containrnent        barriers     and eqüipiñ©iït         for purposes      of containing   and removing    the oil. After

           containing        the spill,     PDVSA         worked      to remediate         the affected   water and soil.   The clean-tip   of the spill
           and the restoration             of the water                  to affected       rasihtc     was  completed   within         days  of the
                                                             supply                                                             forty
           incident.


           Sirice      May 2012, the following  changes to PDVSA's                            envircriincatal         safety initiatives     have occurred:          (i)
           PDVSA         has increased the number of environmental                           indies¹nes      certified     by KPMG;      (ii) PDVSA      has
           engaged        in the development              of the subsoil        itljection of waste,        which     has allowed      PDVSA     to safely
           dispose     of approximately             650,000        barrels     of mud and industrial         water; (iii)       PDVSA      has designed and
           irsp'cant~!       new plans             to address      oil spillet  (iv)    PDVSA         has coa,u,w,,ced         174 environmatal        projects            in
           different      facilities      throughout                         and (v) PDVSA             has incorporated         additional   envir^=abi
                                                        Venezuela;
           policles      to seven       projects    to be developed          by PDVSA.


           At the beginnirag     of 2015 PDVSA    initiated   a process of certifying                              12 environmental          managonicñt
           progress iridicators,    which were included     in the 2015 Memorandum                                      of Balance    of Eaviro=.mtal

           Management,      with           the support       of the auditing        firm    KPMG.         The    12 indicators       in process   of certification
           are: Authorization              Procedures,                            Procedures,        Eiivirar,rasatal       Corjservation,     Natural     Resources
                                                             Sanctioning
           Morlitoring,        Effluent      Liquids     Managemerit,     Production   Waters,                  Atmospheric        Emissions,     Air    Quality
                                                             Ilydracarbon                                                     Substances                Social-
           Monitoring,         Waste       Maraâgstriciit,                    and other Ce±minng                                            Spills,,
           Environmental               Formation     and Environmental       Cure and Restoration.




                                                                                       S-3.01(p)-2
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                                                                                                                                                      Annex




                                   Description      of Affiliatçg   W the      Issuer     and   of Novated     Receivablçs




      AMOUNT IN USO                                                        $118,009,298
      AMOUNTIN EUR                                                         C67,129,636


                                                                           Invoice                                                           PDVSA Invoice
                  GE En11t'L                     PDVSA Enti ty             nuruber         Cunency           Amount            Date             nurnber
     Alstom Grld GrnbH                      Bariven SA                    4516005961            USD           S245,000       19-Dec-14        4516005951
      BENTLY NEVADA, INC.                   Beriven SA                    1010151632            USO             $40,07B      2-Oct-14         1010151632
      BEMI'LY NEVADA, INC.                  Bariven SA                    1010161632            USD                $641      2-0ct-14        1010161632CD
      BENTLY NEVADA, INC.                   BarIvan SA                    1010187440            USD              S6,107      1-Jun-15         1010187440
      BENTLY NEVADA, INC.                   Bariven SA                    1010218753            USD              S3,074      27,0ec-16        1010218753
     BENTLY NEVADA, INC.                    Bariven SA                    1010226833            USD             513,855      24-Feb-16        1010226633
     BENTLY NEVADA, INO.                    Bar[ven SA                    101022663S            USD              $5,351      24-Fee-16        1010226835
     BENTLY NEVADA, INC.                    Bariven SA                    1010226631            USD              37,589      24-Feb-16         1010226631
     BENTLY NEVADA, INC.                    Bariven SA                    1910205850            USD             521,092      3D-Sep-15         1010205B50
     BENTLY NEVADA, INC.                    Badven SA                     1010232732            USD          $1,704,264       1 Apf-18         1010232732
     BENTLY NEVADA, INC.                    Bariven SA                    1010232740            USD            3398,868       1-Apr-16         1010232740
     BENTLY NEVADA, INC.                    Bariven SA                    1010192161            USD             S25,726      28-Jun-15         1010192151
     BENTLY NEVADA, INC.                    Bativen SA                    10i0206652            USD           S103,155       30.6ep-15         1010205852
     BENTLY NEVADA, INC.                    Bariven SA                    1010207282            USD             557,002      8-Oct-15          1010207282
     BENTLY NEVADA, INC.                    Bariven SA                    1010207282            USD                8912      9-Oct-15        1010207282cD
     BENTLY NEVADA, INC.                    Berken SA                     1010220632            USD              $3,0B8      24-Feb-16         1010226632
     BENTLY NEVADA, INC.                    Bariven SA                    i0½225M5              USD             $30.983      10-Mar-16         101022884S
     BENTLY NEVADA, INC.                    Badven SA                     1010228845            USD                $496      10-MaMS         1010228846 CD
     BENTi.Y NEVADA, INC.                   BarNen SA                     1010227880            USD             $44,035      3-MaMS            1010227860
     BENTLY NEVADA, INC.                    Bariven SA                    1010182527            USD             S40,782      14-Deo-14         1010162527

     BENTLY NEVADA, INC.                    Bariven SA                    1910110136            USD            5171,541      27-Dac-13         1010110136
     BENTLY NEVADA, INC.                    Bariven SA                    1010162672            USD            5220,500      16-Dec-14         1010162072
     BENTLY NEVADA, INC.                    Bariven SA                    1010162872            USD              S3,526      IB-Dee-14        1010162672CD
     BENTLY NEVADA, INC.                    Bariven SA                    1010178732            USD             321,510      25-Mar-15         1010176732
     BENTLY NEVADA, INC.                    Bariven SA                    1010176729            USD              S2,184      25-Mar-15         1010178729
     BENTLY NEVADA, INC.                    Bariven SA                    1010176730            USD              SS,154      25-Mer-15         10101.76730
     BENTLY NEVADA, INC.                    Sariven SA                    1010176730            USD                $130      25-MaM5          1010176730CD

     BENTLY NEVADA, INC.                    Barlven SA                    1010167237            USD            5153,954      29-May-15         1010187237
     BENTLY NEVADA, INC.                    Bariven SA                    1010187237            USD              S2,463      29-Map15         19101872370D

     BENTLY NEVADA, [NC.                    Bariven SA                    1010189603            USD              63,055      16-Jun-15         10101895D3
     BENTLY NEVADA, INC.                    Bariven SA                    1010189603            USD                   580    18-Jun-15        1010189803CD

     BENTLY NEVADA, INC.                    Beriven SA                    1010190819            USD             341,448      23-Jur»15         101019D519
     BENTLY NEVADA, INC.                    Barlven SA                    1010190819            USD                SBSS      234un-15         1010190019CD



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      BENTLY NEVADA, INCs             Barlven S A             1010192088       USD      $4.009    28-Ju&16        1010192088
      BENTLY NEVADA, INC.             Bariven SA              1010192058       USD         SSD    28-Jun-15     10101920BBCD
      BENTLY NEVADA, INC.             Baben SA                101D196937       USD      SU,236    4-Aug-16        1010196937
      BENTLY NEVADA, INC,             Barlven SA              1010204743       USD     S65.336    25-Sep-15       1010204743
      BENTLY NEVADA, INC.             Barlven SA              1010205700       USD       $9,016   30-Sep-15       101020570D
      BENTLY NEVADA, INC.             Bariven SA              1010070883       USD     ($1,744)   54pr-15         1010070863
      BENTLY NEVADA, INC.             Bariven SA.             1010218373       USD   $2,00S737    23-Dec 16       1010216373
      BENTLY NEVADA, INC.             Bariven SA              1010205899       USD    S232,594    30-Sep-15       1010205699
      BENTLY NEVADA, INC.             Bariven SA              1010226834       USD      $7.240    24-Feb-16       1010226634
      BENTLY NEVADA, INC.             BaWen SA                1010226637       USD     588.496    24.Fee-16       1010226637
      BENTLY NEVADA, INC.             Bariven SA              1010226636       USD       32,212   24-Feb46        1010226635
      BENTLY NEVADA, LNC.             Bariven SA              1010229296       USD    $135,268    14-Mar46        1010229295
      BENTLY NEVADA,, INC.            Bariven SA              1010218755       USD     319,878    27-Deo15        1010218755
      BENTLY NEVADA, INC.             Bariven SA              1010218755       USD        $318    27-Dec-15      1010218755CD
      BENTLY NEVADA, INC.             Sariven SA              1010218511       USD       $3,758   23-Deo-15       1010218511
      BENTLY NEVADA, INC.             Bativen SA.             1010218511       USD          $80   23-Dec+15      10102185110D
      BENTLY NEVADA, INC.             Beriven SA              1010205849       USD      $23.391   30-Sep-15       1010205848
      BENTLY NEVADA, INC.             Beriven SA              1010205598       USD       39,605   30-Sep-15       1010205698
      SENTLY NEVADA, INC.             Bariven SA              1010218509       USD      $35,260   23-Deo45        1010216509
      BENTLY NEVADA, INC.             Be   en SA              1010218509       USD         $564   23-Dec45       1010218509CD
      BENTLY NEVADA, INC.             Sariven SA              1010218756       USD      S74,678   27-Dec45        1010218756
      BENTLY NEVADA, INC.             Bariven SA              1010218756       USD       $1,195   17-Mar46      1010218756 CD
      BENTLY NEVADA, INC.             Seriven SA              1010205698       USD         S154   30-Sep-15     10102D5698 CD
      BENTLY NEVADA, 1NC.             Barlven SA              1010190374       USD      $29,317   19-Jun-15       1010190374
      BENTLY NEVADA, INC.             Bariven SA              1010190374       USD         $469   19-Jur»15      1010190374 CD
      BENTLY NEVADA, INC.             Badven SA               1010189002       USD     3724.512    1-May45        1010189062
      BENTLY NEVADA, INC.             Barimen SA              1010189063       USD    3602,393    10-Dec-15       1010189063
      BENTLY NEVADA, INC.             Bariven SA              1010218752       USD       51,372   27-0se-15       1010218752
      BENTLY NEVADA, INC.             Bariven SA              1010218754       USD     3594,497   27-D00-15       1010218754
      BENTLY NEVADA, INC.             Bativen SA              1010218754       USD      811,112   2WDec45        1010218754CD
      BENTLY NEVADA, INC.             Sariven SA              1010218752       USD          580   27-Dec-15      1010216752 CD
      BENTLY NEVADA, INC.             Beriven SA              1010218507       USD       $2,404   23-Dec-16       1010218507
      BENTLY NEVADA, INC.             Bar[ven SA                  1010218507   USD          880   23-Dec45       1010218507 CD
      BENTLY NEVADA, INC.             Bar[ven SA                  1010216510   USD      590,637   23-Deo-15       1010218510

      Dresser Inc                     Bariven SA                   1336124     USD      528.680   17-Mar45          1836124
      Dresser Inc                     Bariven SA                   1345503     USD      $73,477    a-May-15         1345603
      Dresser Inc                     Bariven SA                   1336046     USD     S220,698    17-Mar45         1336046
      Dresserine                      Bariven SA                   1336806     USD     S160,991   20-Mar-15         1336806
      Dresser inc                     Berlven SA                   1345604     USD      $45,000    8-May-15         1345604
      Oresset Inc                     Bariven SA                   1341235     USD      325,576    14-Apt-15        1341235
      Dresser Inc                     Bariven SA                   1336125     USD      $28,756    17-Mar45         1336125

      Dresser inc                     Bariven SA                   1341234     USD      313,643    14Apr-15         1341234

      Dresser Inc                     Bariven SA                   1350693     USD       52,267    54Un-15          1350693


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      Dresser Inc               Bariven SA                   1350692   USD    S11,549    5-Jun-15         1350092
      Dresser Inc               Bariven SA                   1857279   USD    546,596    174ul-15         t357279
      Dresser loc               Beriven SA                   1348874   USD     $9,422    27-May-15        1348874
      Dresser Inc               Bariven SA.                  1348873   USD    $72,622    27-May45         1348873
      Dresser Inc               Bariven SA                   1848787   USD    $20,834    26-May-15        1348737
      Dresser Inc               Bariven S.A.                 1351398   USD    $80,.B35   9-,lun-15        1361398
      Dresses Inc               Bariven SA                   1368875   USD     S2,909    30-Sep-16        1368676
      Dresser Inc               Bariven SA                   1381730   USD     54,818    30-Dec-15        1381730
      Dresser Inc               Bariven SA                   1358132   USD   S142,792    23-Jut-15        1358132
     Dressor inc                Bativen SA                   1381683   USD   (S4.818)    17-Dec-15        1381683
     Dresser Inc               Bariven SA                    1368888   USD     34,899    30-Sep.15        1368888
     Dresser Inc               Bariven SA                    1342386   USD   5133,940    214pr-15         1342386
     presser Inc               Bariven SA                    1344641   U8O    $10,000    1-May-15         1344641
     Dresser Inc               Bariven SA                    1348443   USD    $19,197    13-Mey-15        1348443
     Dresser Inc               Bariven SA                    1348872   USD    $15,.198   27-May-15        1348872
     Oresser Inc               Bariven SA                    1314171   USD    S39,097    27-Oct-14        1314171
     Dresser inc               Bariven SA                    1357277   USD    $22,8B5    174ul-15         13$7277
     Dresser fac               Berluen SA                    1880013   USD    S30,712    17-Dee-15        13B0013
     Dresser Inc               Bariven SA                    1313834   USD    570,882    23-Oct-14        1313634
     Dresser Inc               Barlven SA                    1317200   USD    $15,198    11-Nov-14        1317200
     Dresser Inc                Bariven SA                   1330126   USD    $24,078    17-Mur-15        1336126

     Dresser Inc                Bariven SA                   1336528   USD     SB,144    19-Mer-15        1336628

     Dresser Inc                Bartven SA                   1338529   USD    S18,911    19-Mar-15        1336529
     Dressor Inc                Bariven SA                   1336453   USD     S7,700    18-Mar-15        1335453

     Dresser Inc               Barfwan SA                    1336807   USD    526,689    20.Mar-15        1336807

     Dresser Inc               Barfven SA                    1336819   USD    561,020    20-Mar-15        1336619
     Dresser Inc               Bariven SA.                   1330021   USD    S22,339    20-Mer-15        1336821

     Dresser Inc               Bariven SA.                   133682D   USD    511,59B    20-Mar-15        1336820
     Dresser Inc               Basiven SA                    1339476   USD    $11,926     2-Apr-15        1339478
     Dresser loc               Bariven SA                    1339715   USD    S24.658     6··Apr-15       1339715
     Dresser Inc               Bariven SA                    1339904   USD     $1,001     7-Apr-15        13399D4

     Dresser Inc                Bariven SA                   1341238   USD    $14 948    14-Apr45         1341238

     Dresserinc                 Bariven SA                   1338823   USD    $58,347    204dar-15        1336823
     Dresser Inc                Bariven SA                   1343688   USD    $15,411    28-Apr-15        1343638

     Dresser inc                Bariven SA                   1343639   USD     $8,383    28-Apr-15        1343639
     Dresser Inc                Bariven SA                   13444D2   USD    520,790    30-Apr-15        1344402

     Dresser Inc                Bariven SA.                  1346047   USD    S27.450    1244ay-15        1346047

     Dresser Inc               Bariven SA.                   1344404   USD    $77,891    30-Apr-15        1344404

     Oresser Inc               Bariven SA                    1344642   USD   $111,345     1-May-15        1344642

     Dresser Inc               Barlven SA                    1349437   USD    510,932    29-May-16         1349437

     Dresser Inc               Bar1ven SA                    1349877   USD    664S91      1-Jun45          1349877

     Dresser Inc                Bariven SA                   13073DB   USD     $3,195    17-Sep-14         1307308
     Dresser Enc                Bariven SA                   $320464   USD    $51,777     4-Deo14          1320454


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      Dresser Inc               Bariven SA                   1349878        USD      S14,676   1-Jun-15          1349678
      Dresser inc               Barlven SA                  1352958         USD      S60,147   18-Jun-15         1352958
      Dresser Inc               Bariven BA                  1354475         USD       52,377   29Jup-15          1354476
      Dresser loc               Barlven SA                  1355478         USD      $21,766    6-Jul-15         1355478
      Dresser Inc               Bariven SA                 4520014205       USD         S476   20-JuMS          4520014205
      Dresser Inc               Bariven SA                 4520014122       USD         5339   20Jul-15         4520014122
      Dresser Inc               Bariven SA                  1357861         USD      $30,433   21-Jul-15         1357661
      Dresser Inc               Bariven SA                  1357529         USD      $22,100   20-JuMS           1357529
      Dresser Inc               Bariven SA                  1357280         USD       $6,678   1Nul-15           1357280
      Dresser Inc               Bariven SA                  1359351         USD      S20,811   30-Jul-15         1359351
      Dresser Inc               Bariven SA                  1359353         USD      S17,096   30-JuMS           1359363
      Dresser Inc               Bariven SA                  1350365         USD      S44,556   30-JuM5           1359355
      Dresser inc               Bariven SA                  1359356         USD       S3,755   30-Jul-15         1359356
      Dresser Inc               Beriven SA                  1360566     .   USD       S3,175   12-Aug-to         1360586
      Dresser Inc               Beriven SA                  1860865         USD      $39,269   12-Aug-15         1360865
      Dresser Inc               Bariven SA                  1357747         USD      522,136   21-JuM5           1357747
      Dresser Inc               Bariven SA                  1361127         USD      S17.183   14-Aug-15         1361127
      Dresser Inc               Badven SA                  4S2001529B       USD       S3.059   14-Aug.15        4520015298
      Dresser Inc               Bariven SA                  1368885         USD      S48.303   30-Sep-15         13688B5
      Dresser Inc               Bariven SA                  1368884         USD      S33.907   30-Sep-15         1368884
      Dresser Inc               Bariven SA                  1368878         USD      $34,741   30-Sep-15         1368878
     Dresser Inc                8øriven SA                  1368577         USD      $21,943   30-Sep-15         1365677
     Dresser Inc                Bariven SA                 4520019940       USD     $100,795   29-Oct-15        4520019940
     Dresser Inc                Bariven SA                  1380017         USD      $32,$42   17-Dec-15         1380017
     Dresser Inc                Bariven SA                  1380643         USD       81.669   21-Dec-15         1380643
     Dressor Inc                Bariven SA                  1390044         USD       51,61D   21-Dec-15          1380644
     Dresser Inc                Bariven SA                  1381607         USD      $42,609   29-Dec-15         1381607
     Dresser Inc                Bariven SA                  1368880         USD      $45,211   804ep-15          13B8880
     Dresser Inc                Bariven SA                  1314449         USD      S49.749   28-Oct-14          1314448
     Dresser Inc                Bariven SA                  1220113         USD         S253   19-Mar-13          1220113
     Dresser Inc               Bariven SA                   1336449         USD       $7,944   18-Mer-15          1336449
     Dresser Inc               Bariven SA                   1343641         USD       36,201   28-Apr-15          1343641
     Dresser Ino               Bariven SA                   1368875         USD      $20,720   30-Sep-15         1368875
     Dresser Inc               Bariven SA                   1360012         USD       55,779   17-Dee-15         1380012
     Dresser Inc               Bariven SA                   1220350         USD      S85,579   20-Mar-13         1220350
     Dresser Inc                Beriven SA                  1336533         I.ISD     S1,696   19-Mar-15          1336533
     Dresser Inc               Bariven SA                   1336456         USD      $16,390   18-Mar-15          133645B
     Dresser Inc               Bariven SA                   1336452         USD      $21,643   18-Mar-15          1336452
     Dresser Inc               Beriven SA                   134124D         USD     3308,009   144pr4      S      1341240
     Dresser loc               Bariven SA                   1340277         USD      $17349    8-Apr-15           1340277
     Dresser inc               Bariven SA                   1345446         USD     $106,592   24-Apr-16          1346446
     Dresser inc               Sariven SA                   1343850         USD      S57,984   28-Apr-15          1343650
     Dresser Inc               Bariven SA                   1346D57         USD       $1,357   12-May-15          1346057


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      Dresser Inc              Bar1ven SA                134S607   USD     S5.544   8-May-15          1345507
      Dresser Inc              Barlven SA                1345606   USD    $27,787   8-May-15          1345806
     Dresser Inc               Beriven SA                1345805   USD   S123,974   8-May-f 5         1345605
     Dresser inc               Barlven SA                1343098   USD   S145,152   13-May-15         1343098
     Dresser inc               Barlven SA                1349117   USD     $4,196   28-May-15         1349117
     Dresser ine               Ber1ven SA                1348878   USD     SS 134   27-May-15         1348878
     Dresser Inc               Berlven SA                1348879   USD    $14,994   27-May-15         1348879
     Dresser Inc               Bariven SA                1348075   USD    $73,627   21-M y-15         134B076
     Dresser Enc               Bedven SA                 1349820   USD     53.819    1-Jun-15         1349820
     Dresser inc               Bariven SA                1320966   USD      SS81    12-Aug-14         1320008
     Dresser Inc               Bariven SA                1252314   USD    $26,041   30-Sep-13         1252314
     Dresser Inc               Bariven SA                1353275   USD     $8,920   19-Jun-15         1353278
     Dresser lac               Beriven SA                1357532   USD    550.135   20-Jul-16         1357532
     Dresser Inc               Bariven SA                1357283   USD     52,601    17-Jul-15        1357263
     Dresser Inc               Bariven SA                1357278   USD     S1,076   17-Jul-15         1357278
     Dresser Inc               Bariven SA                1888700   USD    $94,970   30-Sep-15         1398700
     Dresser inc               Boriven SA                1368879   USD    S33.727   30-Sep-16         1868879
     Dresser loc               Beriven SA                1368701   USD    839,671   30-Sep-15         1368701
     Dresser Inc               Bariven SA                1367583   USD    $53,423   20-Jul-15         1357533
     Dresser inc               Befiven SA                1380520   USD     S3,528   21-Dec-16         1380520

     Dresser Inc               Bariven SA                1380023   USD     S1,304   17-Dec-15         1380023
     Dresser Inc               Barlven SA                1380024   USD    $15,292   17-Dec-15         1380024
     Dresser Inc               Bariven SA                1264125   USD     58,396   19-Dec-13         1264126

     Dressor ino               Bariven SA                1271365   USD    597,893   13-Feb-14         1271365

     Dresser Inc               Bariven SA                1307775   USD     $7,130   19-Sep-14         1307775

     Dresser Inc               Bariven SA                1307449   USD    S13,214   18-Sep-14         1307449

     Dresser Inc               Barlean SA                1307479   USD    S34.722   18-Sep-14         1307479

     Dresser Inc               Bariven SA                1307494   USD    $41,705   18-Sep-14         1307494

     Dresser Inc               Bariven SA                1307495   USD     S2,514   18-Sep-14         1307495

     Dresser loc               Bariven SA                1307497   USD    S22,166   18-Sep-14         1307497

     Dresser Inc               Bariven SA                1307776   USD    513,684   19-Sep-14         1307776

     Dresser Inc               Bariven SA                1313970   USD    $58,982   24-Oct-14         1.313970

     Dresser Inc               Bariven SA                1311192   USD     $9,151    9-Oct-14         1311192

     Dresser Inc               deriven SA                1313969   USD    S36,490   24-0ct-14         1313869

     Dresserine                Bariven SA                1313640   USD    $14,171    7-Nov-14         1313640

     Dresser Inc               Bariven SA                1314697   USD    S26,166   28-Oct-14         1314597

     Dresser Inc               Bariven BA                1319443   USD     $7,000   24-Nov 14         1319143

     Dresser Inc               Bertven SA                1336132   USD    $36,436   17-Mar-15         1336132

     Dresser Inc               Bariven SA                1336446   USD     SS,102   18-Mar-15         1336448

     Dresser Inc               Bariven SA                1336454   USD    $18,087    18-Mar-15        1339454

     Dresser Inc               Beriven SA                1338456   USD    $10,869    18-Mar-16        1336455

     Dresser Inc               Bariven SA                1335455   USD    $14,376    18-Mar-15        1338466

     Dresser Inc               Bariven SA                1336459   USD    514,272    18-Mar-15        1336459


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      Dresser Inc               Badven SA                  1336532   USD    $147,311    19-Mer-15         1336532
      Dresser Inc               Badven SA                  1336531   USD    $192,915    19-Mar-15         1336531
      Dresser Inc              Badven S.A.                 1338530   USD    $960,069    19-Mar-15         1336530
      Dresser Inc              Badven SA                   1338447   USD     518,262    18-Mar-15         1336447
      Dresser Inc              Badven SA                   1336448   USD     S47,195    18-Mer-15         1336448
     Dresser Inc               Bariven SA                  1338822   USD     527,165    20Mar-15          1338822
     Dresser Inc               Bariven SA                  1336824   USD     $32,435    20-Mar-15         1336824
     Dresser Inc                Badven SA                  1339767   USD      $9,287    8-Apr-15          1339787
     Dresser Inc                Badven GA                  1341283   USD      $7,217    14 Apr-15         1341233
     Dresser Inc               Bariven SA                  1339479   USD     573,655    2-Apr-15          1339479
     Dresser Inc               Bariven SA                  1339905   USD    $170.271    7-Apr-15          1339906
     Dresser Inc               Badvan SA                   1342662   USD      S3,858    22-Apr-16         1342662
     Dresser Inc               Ber1venSA                   1344405   USD      51,945    30-Apr-15         1344405
     Dresser Inc               Berlven SA                  1348114   USD     $19,650    6-May 15          1345114
     Dresser Inc               Barlven S.A.                1346081   USD         511    12-May-15         1345061
     Dresser Inc               Bariven SA                  1346003   USD     $32,821    12-May-15         1346083
     Dresser loc               Bariven SA                  1346064   USD     $33,993    12-May-16         13460S4

     Dresser inc               BerWan SA                   1343360   USD     $58,909    27-Apr-15         1843380
     Dresser loc               Barisen SA                  1348060   USD     $22,131    12-May-15         1348060

     Dresser Inc               Bariven SA                  1346059   USD    $132,401    12+May-15         1346059
     Dresser Inc               Bariven SA                  1348396   USD      $6,730    22-May-15         1348396

     Dresser lac               Bariven SA                  1348735   USD      51,010    26-May-16         134873S
     Dresser Inc               Bariven SA                  1348277   USD        $955    22-May-15         1348277
     Oresser Inc               Badven SA                   1348276   USD     S13.879    22-May-15         1348276

     Dresser Inc               Badven SA                   1349114   USD      S2,201    28-May-15         1349114

     Dresser loc               Badven SA                   1349441   USD      $3,376    29-May-15         1849441

     Dresserine                Bariven SA                  1310884   USD         556     8-Oct-14         1310854
     Dresser inc               Barlven SA                  1251779   USD     $11,479    27-Sep-13         1251779

     Dresser Inc               Badven SA                   1251780   USD    S198.922    27-Sep-13         1251780
     Dresser inc               Beriven SA                  1252745   USD     $16,042    10-Mer-13         1252745
     Dresser Inc               Bariven SA                  138120B   USD     S26,283     9-Jun-15         1351208

     Dresser ino               Beriven SA                  1880891   USD     510,694     5-Jun-15         1350691

     Dresser inc               Bariven SA                  1350097   USD     $28,697     5-Jun-15         1350697

     Dresser Inc               Bariven SA                  1851217   USD     532,328     94un-15          1351217

     Dresser Inc               Bariven SA                  1351218   USD     $95,984     94un-15          1351216

     Dresser Inc               Bariven SA                  1353279   USD     S30.090    19-Jun-15         1353279

     Dresser Inc               Bartven SA                  1367660   USD     522,180     21-JUM6          1357650

     Dresser Inc               Badven SA                   1387748   USD     344,837     21-Jul-15        1357748

     Dresser Inc               Bariven SA                  1367535   USD     $44,554     20-Jul-16         1357535

     Dresser Inc               Befiven S.A.                1360659   USD        $133    124ug-15           1360869

     Dresser Inc               Bar|ven S.A.                1360424   USD   S2,128.374   11-Aug-15          1350424

     Dresser inc               Bariven SA                  1358135   USD    S340,399     23-JuM5           1358135

     Dresser Inc               Badven SA                   1868886   USD       S1,505   30-Sep-15          1368886


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      Dresser inc                        Bariven SA                   1388845    USD     $20,129    30-Sep-15         1366645
     Dresser Inc                         Bariven SA                  1388631     USD     S14,950    30-Sep-15         1366531
     Dresser Inc                         Bariven SA                  1368844     USD    $409.107    30-sep45          1868844
     Oresser Inc                         Barlven SA            1368702DR204      USD    S119.229    30-Sep-15         1368702
     Oressor Inc                         Bariven SA                  1368874     USC     $82,498    30-Bep-15         1368874
     Dresser Inc                         Bariven SA                  1368873     USD     $28.937    30-Sep-15         1358873
     Dresser Inc                         Badven SA                   1369941     USD       $1,150   7-Oct-15          1369941
     Dresser Inc                         Bahen SA                    1368887     USD     $31,845    30-Sep-15         1368887
     Dresser Inc                         Bariven SA                  1380735     USD    3102,869    22-Dec-15         1380735
     Dresser Inc                         Beriven SA                  1380025     USD    3128,500    17-Dec-15         13B0025
     Dresser Inc                         Bariven SA                  1380018     USD       35,072   17-Dee-15         1380018
     Dresser Inc                         Bariven SA                  1380518     USD       $8,527   21-Dee-15         1380518
     Dresser Inc                         Bariven SA                  1380519     USD     S26,383    21-Deo-15         1380619
     Dresser Inc                         Bariven SA                  1380645     USD       S3,890   21-Dec-15         1380645
     Dresser inc                         Bariven SA                  1380647     USD     S21,852    21 Deo-15         1380647
     Dresser ino                         Bariven SA                  1381609     USD     $23,564    29-Den-15         1381809
     Dresser Inc                         Beriven SA                  1380484     USD     $10,872    18-Der 15         1380484
     Dresser Inc                         Bar1ven SA                  1368683     USD     $71,812    30-Sep-15         1368883
     Dresser Inc                         Bariven SA                  1321974     USD     S77,008    11-Dec-14         1321974
     Dresser Inc                         Barlven SA                  1336460     USD       $6,130   18-Mar-15         1335450
     GE Energy Parts International LLC   Bariven SA                  9057421     USD   S6,244,248   8-Apr-16          9057421
     GE Infrastructure Sensing,inc.      Bariven SA                  4424640     USD        S945     8-Oct-id         4424840
     GE Mi½•T-Gre       Sensfug. inc.    BaFlVenSA                   4437095     USD       $9,059   23-Sep-15         4437095

     GE Infrastructure Sensing, Inc.     Bariven SA                  4405369     USD    S110,202    30-Jan-14         4405369

     GE Infrastructure Sensing, Inc,     Bativen SA                  4417837     USD       $1,925   30-Jan-14         4417837
     GE Infrastructure Sensing, Inc.     Bariven SA                  4437936     USD     $23,321    14-Om-15          4437936
     GE Infrastructure Sensing, Inc.     Berlven SA                  4440778     USD      $30.177   5-Jan-16          4440778
     GE Infrastrumore Sensing, Inc.      Barlven SA                  4441942     USD      S59,210   16-Feb-16         444t942
     GE Infrastrudure   Sensing, IncL    Bariven SA                  4433051     USD     S11,432    19-May-15         4433051
     GE Infrastructure Sensing, Inc.     Bariven SA                  4433857     USD     $11,380     9-Jun-16         4433057
     GE InfraSIructure Sensing, loc.     Bariven SA                  4434921     USD     $40.956     2-Jul-15         4434921

     GE Infrastructure Serising, Inc.    Bariven SA                  4435241     USD       $1,926   21¬Jul-16         4435241
     GE inspecilch Technologies, LP      Beriven SA                 4350095720   USD      $83.210   1-Sep-15         4350095720
     GE inspection Technologies, LP      0ariven SA                 4360043095   USD      315.097   13-Mar-14        4350043895

     GE 10specIlon Technologies, LP      Bariven SA                 4350092434   USD      584,138   St-Jul-15        4350092434
     GE Inspection Technologies, LP      Bariven SA                 4350088309   USD       33,286   24-Jun-15        4350068309
     GE Irrspection TechnologiesaP       Barlven SA                 4350107767   USO    S189,699    23-Dec-15        4350107767

     GE MULTILIN INC                     Barfwen SA                   363907     USD    $188,000     Nut-14            363907

     GE MULTILIN INC                     Bariven SA                   371444     USD    S400,150    25-Sep-14          371444

     GE MULTlLIN INC                     Bariven SA                   376622     USD   S1.036,005   22-Nov-14          376822

     GE MULTILIN INC                     Barken SA                    395879     USD      348,941    24u1-15           395879
     GE MULTtLIN INC                     Bariven SA                   399084     USD       35,940   19 Aug+15          399084

     GE MULTILIN INC                     Bariven SA                   395586     USD      $25.845   27-Jun-15          395586


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     GE 011& Gas Gompression SystemL L        Bariven SA.               91.5383668      USD      S23,g30    28-Nov-14        916383668
     GE Oil & Gas Compression Systerns, L     Beviven SA                915382738       USD      $67,097    23-Nov-14        915802738

     GE 08 & Gee Compression Syslems, L       Bariven SA                915383434       USD       $1,339    26-Nov-14        915383484

     GE 011& Gas Cornpression Systems, L      Bariven SA                915503961       USD       $2,157    21-MaM5          915503981

     GE 011& Gas Comp(ession Syslerns, L      Bariven SA                915502710       USD      S19,436    $1.-MaMS         915502710

     GE 011& Gas Compression Systems, L       Bariven SA                915602712       USD       $4,739    31-Mar-15        915502712

     GE Oil & Gas Compression Syelems, L      Gariven SA.               915503604       USD       92,844    31-Mar-15        915503804

     GE ON& Gas Compressbn Syelems, L         Bariven SA.               915413850       USD       $5,B09    2-Mer-16         915413850

     GE 0i15 Gas Campression Systems, L       Gariven SA.               915413B48       USD       34.582    2-Mar-16         915413848

     GE ON& Gee Compression Systems, L        Beriven SA.               915413851       USD       $2.904    2-Mar-16         $16413851

     GE On & Gas Car.pma'Gr> Systems, L       Beriven SA                915413842       USD       54,334    2-MsM6           915413842

     GE Oil & Gas Compression Syslems, L      Bariven SA                915443618       USD       $8.292    2-Mar46          915443$18

     GE Oil & Gas Convession    Syslerns, L   Garivers SA               916413846       USD       S1856     2-Mar-16         915413846

     GE 011& Gee Compression Syelerns, L      1%riven SA                915397075       USD      S1B.750    2-Mef-18         915397075

     GE Ol|& Gas compression Syslerns, L      Badven SA                 915504047       USD      $15,795    31-Mar-15        015504047

     GE ON & Gas Cornpression Syslerns, F.,   Bariven SA                915416689       USD     S20B,846    19-Fen-16        915416689

     GE Of|& Gas Cornpress[cn Systerns, L     Bef1ven SA                    90770680    USD     $171,397     5¬Apr-10         90778680

     GE OA& Gas Compre99lon Systems, L        Befiven 8A                    90633081    USD       37.74s    17-Jun-16         90633081.

     GE Oil & Gas Compression Sysierns. L     Bariven SA                    91841B681   USD      S40,388    2-Mar-15         91.S410891

     GE OB& Gas Compression Systerns, L       Barlven SA                    915502707   USD      $30,363     2-Mer-10        916502707

     GE OMa Gas Cornpression Syslerns, L      Beriven SA                    80B46290    USD      599.338     1©ct-1.5         90540290

     GE Oil & Gas Compression Systems. L      Bariven SA                    90632578    USD      $40,108     2-Mar-16         90B32678

     GE Oil & Gas Cornpression Systems, L     Bariven SA                    90645711    US13     SS2,983     1>O0t+15         90S45711.

     GE 0M & Gas Cornpression Systems, L      Bedven SA.                    9181.6175   USD      585,488     30-Jul-14        91.816175

     GE Oil & Gas Compression Systems, L      Bariven SA                    910DEB742   USD      S33,725    13 Atig-14       910063742C

     GE 04 & Gas Compression Systems, L       Bariven SA                    915411555   USD      S32,730    29-Dec-14        91.5411555

     GE Oil & Gas Compression Systems, L      Bariven SA.                   9154D8582   USD    $1.1743236   23-Dee-14        916409582

     GE Oil & Gas compression   Systems, L    earivert SA.                  915409579   USD    $1,174,235   28-Dec-1.,4      915409579

     GE Oil & Gas Compression systems, L      Bariven SA                    915411558   USD    81,174,235   29,Dec-·t4        915411558

     GE 011& Gas Compression Systems, L       Bar1ven SA.                   915500405   USD    $2,271,276   31War-15          91550040s

     GE 011& Gas CompreSSion Systems, L       Betiven SA                    90615209    USD        $2,904   19-May45          90515209

     GE Oil & Gas Compression Systerns, L     Badven SA                     90B41108    USD       589.978   26-Jun-15         90S41105

     GE OIF& Gas cornpression systems, L      Badven SA                     915469919   USD    $2,400,000   26-Feb-15         916459919

     GE 011& Gas Cornpression Systems, L      Bariven SA                    915468403   USD    S1,200,000   24-Feb-15         916468403

     GE Oll & Gas Corréêsse     Syslems. L    Berlven SA                    915102598   USD      $3B5,392   30-Nov-14         915102598

     GE OH & Gas Cornpression Systems. L      Berlven SA                    915349189   USD        $3,223    25-Oct-14        915349180

     GE OA8 Gas Compression Syslerns, L       Bariven SA                    915600998   USD      $906,503    31-MaM6          916500998

     GE Oil & Gas Ocmp-=‡       Bystems. L    Bariven SA                    90044045    USD    $5,411,661    30-Jun-15        90044S45

     GE OA& Gas Compression Systems, L        Banven SA                     915504084   USD      S255,121    $14nt-15         915504084

     GE Oil & Ges Compressiori Systerns, L    Bariven S.A.                  915085304   USD      $746,118    1-Oct-15         9150B5304

     GE Oil & Gas Compression Systenis, L     Beriven SA                    915119754   USD        $4 698     1-Oct-15        B15119754

     G1ii Oil & Gas Cornpression Systenuh L   eariven SA                    $16119796   USD       S20,6B7     1-001-15        g15119798

                                              Ber1ven SA                    910107678   USD      5314.047     1-Oct-t5        910107576
     GE Oil & Gea C-mpieG1      Systems, L


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      GE Oil & Gas Campisashn Systems, L     Badven SA                    915119523   USD      S69,012    1-00t-1S        915119523
      GE Oil & Gas Compression Systerns, L   Bariven SA                   916232663   USD      $12,856   1-Oct-15         915232663
      GE Oil & Gas Compression Systems, L    Badven SA                    91641S151   USD      S77,504   1-Oct-15         915416t51
      GE Oil & Gas Compression Systems, L    Badven SA                    916156152   USD    3309,374    1-Oct-15         915150152
      GE Oil & Gas compression Systems, L    Badven SA                    915119516   USD       S4,338   1-Oct-15         915119516
      GE Oil & Gas Compression Systems, L    Barivert SA                  915119755   USD       S3,883    1-OcMS          915110755
      GE Oil & Gas Compression Systems, L    Bariven SA                   90632680    USD    $489,690     1-Oct-15         90632580
      GE OE& Gas Compression Systems, L      Badven SA                    9064464B    USD    $133,550     1-Oct-16         90644648
      QE Oil & Gas Compression Systems, L    Bariven SA                   915155454   USD    $198,400    1-001-15         915155454
      GE Oil & Gas Compression Systems, L    Bariven SA                   91511961S   USD      $43,106   1-Oct-15         91511961S
      GE OE & Gas Compression Systems, L     Badven SA                    915119513   USD     S86,330    1-Oct-15         915119513
      GE Oil & Gas Compression Systems, L    Badven SA                    90738393    USD    SS26,647    28-Deo-15         9D73B393
      GE Oil & Gas Compression Systems, L    Badven SA                    90738910    USD    5135,593    29-Deo-15         90738910
     GE Oil & Gas Compression Systems, L     Bariven SA                   90738178    USD      $14,521   28-Dec-15         90738178
     GE Oil & Gas Compression Systems, L     Badven SA                    90738175    USD      526,823   28+Dec-16         90738175
     GE Oil & Gas Compression Systems, L     Bariven SA                   90736089    USD    $319,026    21-Deo-15         90738039
     GE OII& Gas Compression Systerns, L     Bariven SA                   90789480    USD      $81,190   30-Deo-16         9D739480
     GE Oil & Gas Oompression Systerns, L    Bariven SA                   90739557    USD    S602,066    30.Deo-15         90739557
     GE Oil & Gas Compression Systems, L     Bariven SA                   90646264    USD     $63,389    1-Oct-15          90646264
     GE OII & Gas Compressbii   Systems. L   Bariven SA                   915174996   USD     S27.448     1-Oct-15        915174998
     GE Oil & Gas Compression Systems, L     Bariven SA                   915210409   USD      $B9,546    1-Oct-16         915210409
     GE Oil & Gas Compression Systems, L     Bariven SA                   90643985    USD    $315,174     1-Oct-15         90643985
     GE Oil & Gas Compression Syslems, L     Badven SA                    90739488    USD      $97,874   30-Dec-15         90739408
     GE Oil & Gas Compression Systems, L     Bariven S.A.                 90739489    USD    S125,768    3D-Dec-15         90739489
     GE Oil & Gas Cornpression Systems, L    Badven SA                    90S411D9    USD    S173,311    25-Jun-15         90641109
     G1EOll & Gas Compression Systems, L     Badven SA                    90707343    USD        8702    27-Oct-15         90707343
     GE 011& Gas Cornpression Systems, L     Beriven SA                   90644956    USD     589,627    30-Jun-15         90644956
     GE 011& Gas Cornpressfon Systerns, L    Beriven SA                   90707345    USD       37,322   27-Oct-15         90707345
     GE Oil & Gas Compression Systems, L     Bar[ven SA                   915S04088   USD    $381,975    19-Feb-16         915504088
     GE OB & Gas Compression Systerns, L     Bariven SA                   90736882    USD    S402,436    19-Feb-16         90735852
     GE Oil & Gas Compression Systerns, L    Bariven SA                   90739487    USD   S1,526,882   19-Feb-16         90739487
     GE OII& Gas Cornpression Systems, L     Bariven SA                   90738394    USD    3225,605    19-Feb-16         9073B394
     GE OI & Ges Compression Systerns, L     Badvan SA                    90739486    USD      $39,055   19-Feb-16         90739486
     GE Oil & Gas Compression Systems, L     Bariven SA                   90739482    USD      $73,141   19-Feb-16         90739482
     GE Od & Gas Compression Systems, L      Bariven SA                   90736395    USD      $22,047   12-Feb-16         90738395
     GE Oil & Gas Compression Systems, L     Badven SA                    90738176    USD      $46,615   19-Feb-16         90738176
     GE Oil & Gas Compression Systems, L     Bariven SA                   90738179    USD      $12,095   19-Feb-16         90738179
     GE Oil & Gas Compression Systems, L     Badven SA                    9D738911    USD     5202,368   19wFeb-16         90738911
     GE 01I & Gas Compression Systems, L     Badven SA                    90739484    USD     $2S5,329   19-Feb-16         9D739484
     GE Oil & Gas Compression Systems, L     Bariven SA                   916503844   USD     $169,404   19-Feb-16         915503844
     GE Oil & Gas Cornpression Systems, L    Bar(ven SA                   90768487    USD      S36,877   11-Feb-16         90768487
     GE OE 8 Gas Compression Systems. L      Bariven SA                   90739555    USD       $6,963   30-Dec-15         90739565
     GE Oil & Gas Cornpression Systerns, L   Badven SA                    90641110    USD    S114,799    25-Feb-16         90641110


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     GE Oil a Gas Compression Systems, L      Bariven SA                     90644F40     USD   S293,271    20-Feb-t6         90644740

     GE Oil 8 Gas Compressbn     Systems, L   8ariven GA                     90739478     USD   S254,384    25   eb-16        90739478

     GE   G   & Gas Corppression Systems, L   Ba   en SA                 915419950        USD   5264,490    3-Mar-18         915419950

     GE 011& Gas Compression Systems, L       Be   en 8A                     90627994     USD   5106,665    SMa»16            90027984

     GE   G   & Ges Cornpression Systems, L   Bariven SA                     90756746     USD   $315,554    18-Feb-16         90758746

     GE Oil & Ges Cornpressbn Syelerns, L     Bariven SA                     80758747     USD   $145,082    18-Feb-16         90756747

     GF Oil & Gas Cornpressbn Systerns, L     Bailven SA                     90738177     USD    568,543    2-MaM6            80738177

     GE 011& Gas CrgapressiGri Systerns, L    Bariven SA                 915419079        USD   $417,519    2-Mar-16         915419D79

     GE   G   & Gas Compression Systerns, L   Bariven SA                 91550272D        USD   S107,959    2-Mer-10         915602720

     GE 01 & Gas Compression systems, L       Beriven SA                     90739726     USD   S172,474    2-Marw10          90739726

     GE Oil & Gas Compression Systems, L      Sariven SA                     90644947     USD    579,225    2-Mar-16          90044647

     GE Oil & Gas Compression Systems, L      Earlven SA                 916418987        USD   S148,290    2-Mar-15          915416987

     GE   G   & Gas Compression Systems, L    Bar1ven SA                     9055DE82     USD    $42,845    19-FetE16         90650B92

     GE Oil & Gas Comprm|cr,    Systems. L    Bar1venSA                      90739564     USD    S70.920    25-FeM6           90739554

     GE Oil & Gas Compression Systernes.L     Bar[ven SA                     90739461     USD     82,907    25-Feb¬10         90739451

     GE 011& Gas Compression Systems, L       BarivenSA                      90645710     USD    558,684    19-Feb-16         90845710

     GE Oil & Gas Corripression Systems, L    Bar[ven SA                     90044551     USD   $276,608    19-Feb-16         90044651

     GE Oir & Gas Compression Systems, L      Bariven SA                     90739483     USD   S102.601    25-FetM6          90739483

     GE 011& Gee Compression Systems, L       Bariven SA                     90044649     USD   S113,576    19-Feb-16         90544549

     GE 011& Gas Cornpression Syslerns. L     Bariven SA                     90544955     USD   $256.291    25-Feb-16         90644956

     GE Oli & Gas Compression systems, L      Bariven SA                     90645793     USD    $39,965    25-Feb-18         90046795

     GE Oil & Gas Cornpression Syslerns, L    Bariven SA                     90045442     USD    3S7,551    25-Feb-16         90645442

     GE Oil & Gas Compression Systerns, L     Bariven 5 A                    90708728     USD        $28    19-Feb-16         90708728

     GE Oil & Ges Compressbn     Systems. L   Barlven SA                     90627953     USD   8107,466    19-FeM6           90027953

     GE Oil & Gas Compression Systems. L      Barlven SA                 B15603044        USD        $20    19-Fety-16        915503844

     GE Oil & Gas Compression Systems, L      Be   en SA                 916503979        USD     $6,292    19-Feb-16         B15503979

     GE Oil & Gas Compression Systerns, L     Ba   en SA                 915503958        USD    321.997    19-Feb-16         915503968

     GE   6   & Gee Compression Systems, L    Bariverg SA                    B0738455     USD   $140,200     19-Feb-18        90739485

     GE Oil & Gas Compression Systems, L      Bariven SA                     90644954     USD   $507,514     19-Feb-16         90644954

     GE Oil & Gas Cornpression Systems, L     Bariven SA                 915492006        USD    S30.008     1·S-Feb-16       9154920D6

     GE 0115 Gas compression     8ystems, L   Bariveo SA                     90644742     USD    S92,675     19-Feb-16         80044742

     GE OiF8 Gas Compression Systems, L       SaFiven SA                     9081S210     USD      $4,495    19-Feb-10         00615210

     GE Oil & Gas Compression Systerns, L     Bariven SA                     90707344     USD    S24,621·    10-Feb-16         90707344

     GE 011& Gas Cornpressloo Systems, L      Beriven SA                     90644553     USD   5405,017     19-Feb-16         90644653

                                              Bar1ven SA                     91.5600406   USD   $422,578     1·9-Feb-16       916S0040B
     GE Oil & Gas Compression Systems. L
     GE O[I & Gea Cornpression Systems. L     Bariven SA                     90044650     USD   S23B,956     19-Feb+16         90844850

      GE Oil & Gas Compression Systems, L     Beriven 0.A.                   90043967     USD   $163.8B0     19-Feb-16         90043987

                                                                             90739556     USD    $B95,043    2-Mar-16          90739556
      GE Oil & Gas Compression Systems, L     BGFIVenSA
                                                                             915503980    USD     S16,010    2    ar-16       916603950
      GE Oil 8 Gas Compression Systems, L     Bariyan SA
      GE Olb5 Gas Oompression Systems, L      BarNen S A                     B0645696     080     517,558     2-Mards          90045695

                                                                             916502748    USD      $9,807     2-Mar-16         915502746
      GE 011& Gas Compression Systems, L      Beriven BA
                                                                             915413885    USD     515,0B9     2-Mar-16         915412885
      GE 0118 Gas Gompressbon Systerns, L     Badven SA
                                                                             915102599    USD     B88,098     2-Feb-16         915102599
      GE 011& Gas Compression Systems, L      Ber1vanSA


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     GE 01r & Gas Compression Systems, L     15amert SA.                 80739558     USD     $69,423    6 Apr-16          90739558

     GE Olt & Gas Compresslan Systems, L     Badvert S.A.                91502742     USD     $20,403    2-Dec¬13          91502742

     GE 01t & Gas Campression systems, L     Bar1venS A,                 915414372    USD    5115,124    30 Dec-14        915414372

     GE Oit & Gee Compression Systems, L     Bativen S A.                9185040B9    USD     $16,637    31-Mer-15        915504089

     GE 011& Gas Compression Systems, L      Bativen SA.                 915502713    USD    $419,351    31-MBr-16        915502713

     GE 011& Gas Cornpresslan Systems. L     Bativen 8.A.                916498513    USD     580,177    30Mar-15         915498513

     GE Oil & Gas Cornpression Systems, L    Bar1vergSA              91511946E A      USD    $337,S00    4-Sep-15         915119466-A

     GE Oil & Gas Cornpression Systems, L    Beriven SA                  915119485    USD   $1 723,100   4-Sep-16         915119466-B

     GE 011& Gas Compression Systems, L      Berlven S.A.                916066239    USD    $355.047     1.0s-16          915066239

     GE Oil & Gas Corppression Systems.. L   Badven SA                   915055870    USD     $69.103     1-Od-15          915055870

     GE 011& G a Cornpression Systems, L     Bariven SA.                 91537899     USD      $49,809    t-Oct-15         91567099

     GE Oil & Gas Cornpression $ystems, L    Bariven S.A.                915100747    USD      531,227    1-Oct-15         915100747

     GE Oil & Gas Compression Systems L      Bativen BA                  910056830    USD      542,790    1-Oct-15         910088830

     GE Oil & Gas Compression Systems, L     Barlven SA                  915409424    USD      $15,314    1-Oct-15         915409424

     GE ON& Gas Cornpression Systems, L      Balivan SA                  9150E5305    USD       59,187    1-Oct-15        g4506$305R

     GE 011& Gas Compression Systems, L      Beriven SA                  90846289     USD      S18,24E    1-Oct-16         90646289

     GE Oil & Gas Compressleri Systems, L    Bariven SA                  90645443     USD     $101,471    1-Oct¬1.5        90645448

     GE DIl & Gas Compression Systems, L     Beriven SA                  915260S90    USD      $44,936    1-Oct-15         915260590

     GE Oil & Ges Compression Systems, L     Barivert SA                 915230012    USD      $96,422    1-00t-15         915230D12

     GE Oil & Ges Compression Syslems, L     Bariverp SA                 B1841.4376   USD     S13D,289   30-Dec 14         91541.4375

     GE OlF& Gas Compression Systerns, L     Bariven SA                  90643986     USD     $108,999   29-Jun-15          90643986

     GE Olt & Gas Compression Systems, L     Bariven SA.                 915415138    USD     $171,045    1-Oct-16         916415136

     GE 011& Gas Compression Systems, L      Bariven S.A.                9D844739     USD     $140,929   30-Jup-1.S         90544739

     GE 011& Gas Compression Systems, L      Bariven 6,A.                90544741     USD     5122.902   19-Feb-16          90644741

     GE 011& Gas Compression Systems, L      Bar[ven SA                  915503B41    USD       S1,497   19-Feb-10         915503841

     GE Oll & Gas Compressian Systems, L     Barlven SA                  915414370    USD      551,300   25Jeb-18          915414370

     GE 011& Gee Compression Systems, L      Bariven SA                  915418243    USD      512,695   25-Feb-16         915418243

     GE Oil & Gas Compression Systems, L     Bariven SA                  915409423    USD      $11,637   25-Feb-18         915409423

     GE Oil & Gas compression                                            918414337    USD       51,S89   26feb-16          915414337
                                Systems, L   Beriven SA

     GE 011& Gas compression    Systems, L   Beriven SA                  915508645    USD      SS1,475   25feb-16          B16503045

     GE Oil & Gas Compression Systems, L     Barbren SA                  91.5414373   USD       $4,089   26-Feb-16         91541.4373

     GE OA & Gea Compression Systems, L      Bariven SA.                  90627952    USD      $21,242   25-Feb-16          9DS27952

     GE OA & Gas compression    Systems, L   Barfven SA                   90645273    USD       44,340   25-Feb-16          90048273

     Glii Dil & Gas Compression Systems, L   Bariven SA                   9073890s    USD     $276,787   28-Feb-15          90738909

     GE OA & Gas Cornpression Systems, L     Bariven SA.                 915418496    USO      814.098    3-Mar-16         915418496

     GE Oil a Gas cornpresslan Systems, L    Bariven SA                  915414335    USD     S141.665    1-Oct-15          915414335

     GE Dil & Gas Compression Systems, L     Bariven SA                   90046288    USD      626,735    19-Feb-1.6        9%=M
     GE Oil & Gee Cornpression Syslerns. L   Bar1ven S.A.                915414333    USD     $108,289    2-Mer-16          915414333

     GE Odl& Gas Compression Systems, L      Beriven SA                   90043988    USD     5184,652    2.Mar-18          90643986

                                             Seriven SA                  915502747    USD      $39,030    19-Feb-15         916502747
     GE 01t & Gas compression   Byslems, L
     GE Oll & Gas GompressIon Systems, L     Beriven SA.                 915035301    USo      S86,462    8-Mar-16          916035301

                                             Bariven S.A.                 90B27954    USD      $20,400    14-Mae16          90627954
     GE 011& Gas Compression Systems, L
                                                                          90644646    USD      52S,279    14-Mar-16         90844646
     GE Oil & Gas Compression Systems, L     Bariven SA


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      GE OlI & Gas Compression Systerns, L   Badven SA                    90044738    USD   5284,95S     14-Mat-16        90044738
      GE Oil & Gas, inc..                    Barfven SA                   500108836   USD      S5,159    27-Dec-12       500108835
      GE Oil & Gas. Inc.                     Beriven SA                   500108516   USD    564,822     14-Dee-12       500108516
      GE Oil & Gas, Ino.                     Bariven S A                  500108495   USD   $620,339     14-Deo.12       500108495
      GE Oil & Gas, Inc.                     Beriven SA                   5001094S8   USD    $29,686     IS-Jan-13       5001094S8
      GE ON& Gas. Inc.                       Badven SA                    510018433   USD       S100     28-May-14       510018433
      GE Sensing &Inspection Technologies    Bariven SA               4100056443      EUR   E 495,200    S-Meyd S        4100056443
      GE SENSING EMEA                        Beriven SA                    160078     EUR    E 53,093    10.Od-14          160078
      NUOVO PlGNONE S,pA                     Begiven SA               2015007436      EUR    E 27,030    27 Apr-15       2D15007436

      NUOvO PIGNONE S.pA                     Badven SA                2015012362      EUR    E 97,94D    2840415         2015012362
      NUOVO PlGNONE S.pA                     Bariven SA               2015025161      EUR    E 27.629    24-Deo-15       2015025161
      NUOVO P1GNONE S.pA                     Bariven SA               2015012314      EUR   E 197,580    27-Jun-15       2015012314

      NUOVO PlGNONE S.pA                     Berlvan SA               2015012369      EUR   E 188,555    28-Jun-15       2015012359

      NUOVO P1GNONE S.pA                     Bar1ven SA               2015013521      EUR   E 241,907    22-JU145        201501.3621
      NUOVO PlGNONE S..pA                    Bariven SA               2015023590      EUR   E 265,32S    15-Dec-15       2015023590
      NUOVO P1GNONE S.pA                     Ber1ven SA               2015D05871      EUR   E 172.450    27-Mer-15       2015005871

      NUOVO PiGNONE S.pA                     Barlven SA               2015012328      EUR   E 197,5SD    27-Jun·-15      2016012329

      NUOVO PIGNONE S.pA                     Bariven SA               2015025162      EUR     € 7,938    24-Dec-15       2015025162

      NUOVO P1GNONE S-pA                     Bariven SA               2015018081      EUR   € 349,773    28-Gep-15       2015018061

     NUOVO PlGNONE S.pA                      Bariveri SA              2015005245      EUR   £ 724,453    24-Mar45        2015005245

     NUDVO PlGNONE S.pA                      BarNan SA                2015005899      EUR   E 351,471    23-Mar-15       2015005999

     NUOVO PlGNONE S-pA                      Bariven 8 A              201S00S775      EUR     E 5.750    27-Mar--15      2015005775
     NUOVO PlGNONE S.pA                      Bariven SA               2015004505      EUR    G 41.376    20-Mar-15       2015004805

     NUOVO PlGNONE S.pA                      Badven SA                201S006981      EUR     € 2,748    26-Mar-15       201500B981

     NUOVO PlGNONE S.pA                      Bariven SA               2015010115      EUR    E 34.292     9-Jun-15       2015010115

     NUOVO P1GNONE S.pA                      Sariven SA               2015011535      EUR   € 134,178    22-Jun-15       2015011535

     NUOVO PlGNONE S.pA                      Bariven SA               2016009829      EUR       € 709     8-Jun-15       2015009029

     NUOVO PIGNONE S,pA                      Bariven SA               2015023302      EUR   E 125,942    10-Deo-15       2015023302

     NUOVO PLGNONE S.pA                      Bar1ven SA               2015023339      EUR    € 30,555    10-Dee-15       2015023339

     NUOVO PlGNONE S.pA                      Bariven SA               2015023579      EUR    € 18,467    15-Dec-15       2015023579

     NUOVO PlGNONE S.pA                      Barlven SA               2015023573      EUR     E 9,269    12-Dec-16       2015023573

     NUOVO PlGNONE S.pA                      B riveri GA                    19556     EUR    £ 84,850     8-Od-14           19556

     NUOVO PlGNONE S.pA                      Bariven SA               2015003376      EUR   € 107,.904    5-MeM5         2016003375

     NUOVO PlGNONE S.pA                      Baiiven SA               20150D3604      EUR    € 32.S88     9   ar-15      2015003604

     NGOVO PIGNONE 8.pA                      Bariven SA               20150D3394      EUR    E 62,715     5-Mar-15       2015003894

     NUOVO P1GNONE S.pA                      Bariven SA               2015004527      EUR   E 173,670    19-Mar-15       2015004627

     NUOVO P1GNONE S.pA                      Beriven SA               2015004530      EUR    € 96,557    18-MaF16        2015D04530

     NUOVO PIGNONE S.pA                      Bariven SA               2015003323      EUR    € 43,441     5-MaF15        2015003323

     NUOVO PlGNONE S.pA                      Bariven SA               2015D05813      EUR    € 37,647    26-Mar-15       20150D5613

     NUOVO PlGNONE S.pA                      Barlven S A              2015005612      EUR   G 274,285    264aM       S   201500S612

     NUOVO PfGNONE 8,pA                      Beriven SA               2015004671      EUR   E 120,362    20-Mar45        2015004571

     NUOVO PlGNONE S.pA                      Bariven SA               2015005061      EUR   E 115,058    23-Mat-15        2015005061

     NUOVO PlGNONE S.pA                      Bariven SA               2D1500S610      EUR    E 22,202    26-Mae15         201        10


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     NUOVO PlGNONE S.pA             Barlven SA               2016004870       EUR     6 82,600    20-Mar-15        2015004870

     NUOVO PlGNONE 8.pA             Bariven SA               2016003934       EUR      4 4,661    12-Mer-15        2015003934

     NUOVO PlGNONE 6,pA             Bariven SA               2015005182       EUR    € 288.174    24-Mar-15        2015005182

     NUOVO PlGNONE S.pA             Barlven SA               2015005177       EUR       6 3,931   24Mar-15         2015005177

     NUOVO PlGNONE S.pA             Barlven SA               201501021S       EUR     € 53.117    10-Jun-15        2015010213

     NUOVO PlGNONE S.p.A.           Bariven SA               2015011428       EUR     € 11,195    22-Juri-15       2015011428

     NUOVO PIGNONE S-pA             Beriven SA               2016010474       EUR     € 43.928    12-Jurb15        2015010474

     NUOVO PlGNONE S.pA             Bariven SA               2015010113       EUR     t 17,810    9-Jun-15         2016010113

     NUOvO PEGNONE S.pA             Buriven $A               2016010114       EUR     f 33,612    9-Jun-15         2015010114

     NUOVO PlGNONE S-pA             Bariven SA               2015010211       EUR     644,015     10-Jur»I5        2015010211

     NUOVO PEGNONE S,pA             Badven SA                2015011764       EUR     E78,255     24-Jun-15        2015011784

     NUOVO PEGNONE S.pA             Bariven SA               2016010469       EUR     € 28,707    12-Jun-16        2015010459

     NUOVO PlGNONE S.pA             Bariven 8A               2015007246       EUR   € B 60,000    23-Apr-16        2015007246

     NUOVO PlGNONE S.pA             Sadven SA                2015011457       EUR     € 33,B36    224un-15         2015011457

     NUOVO PlGNONE S.pA             Bariven SA               2015007544       EUR   E 2,600,000   30,Apr-15        2015007644

     NUCVO PlGNONE $.pA.            Bariven SA               2016018270       EUR     € 71,248     16-Jul-16       2015013276

     NUOVO PlGNOME S.pA             Bativen SA               2015013296       EUR     €23,604      16-Jur-15       2015013298

     NUOVO PlGNONE 8.pA             Bariven SA               20150131144      EUR      E 90,973    22-Jul-15       201501·3644

     NUDVO PlGNONE S.pA             Badven SA                2015017528       EUR      € 93,491   24-Sep-15        2015017526

     NUOVO PlGNONE S.pA              Badven SA               2015017428       EUR      € 32,936   23.8ep-15        2015017428

     NUDVD PlGNONE 8.pA              Sariven SA              2015016570       EUR      E 17,859   16-Sep+15        2016018570

     NUOVO PlGNONE 8.pA              Barlven SA              2015014780       EUR     E 735,001   25 Aug-15        2015014780

     NUOVO PlGNONE S.pA              Bariven SA              2015018200       EUR   E 1,050,014   29-Sep-15        2015018200

     NUOVO PIGNONE 8,pA              Bariven SA              2D15018168       EUR   € 1,787,52B   28-Sep-16        2015018168

                                                             2015017812       EUR       E 2,889   26-Sep-15        2015017812
     NUOVO PlGNONE S.pA              Bariven S.A.
     NUOVO PlGNONE S.pA              Barivert SA             2015070819       EUR   € 2,571,761    7-Ont-15        2015070819

     NUOVO P1GNONE S.pA              Bariven SA              201501355D       EUR      € 36.081    22-Juh16        2016013550

     NUOVO PlGNONE S,pA              Bariven SA              2015016246       EUR     E 376,032   11.Sep.15        2015016246

     NUOVO PlGNONE S.pA              Bariven SA              20150101·11      EUR     € 166,$70    9-Jun-15        2015010111

     NGOVO PlGNONE S.pA              Badven SA               2015016859       EUR     E489,989     18-8ep-16       2015015869

     NUOVO PlGNONE S.pA              Beriven SA              2015015022       EUR     E 181,820    8-Sep--15       2015015822

     NUOVO P1GNONE S.p A             Bariven SA              2015013654       EUR      E 39 978    24Jul-15        2015013634

     NUOVO P1GNONE S.pA              BMlven SA               2015011262       EUR     € 100,794    194urvic        2015011252

     NUOVO PlGNONE S-pA              Bativen SA              2015011066       EUR      E 60,781    23-JurF15        2015011665

     NUCVO PlGNONE S.pA              B lven SA               2015016315       EUR      € 10,456    14-Sep-15        2016016516

     NUOVO P1GNONE 8,pA              Bativen 8A              2015017733       EUR     € 901,338    25-6ep-16        2015017733

                                                             2015017734       EUR     E 207,316    254Sep-15        2015017734
     NUOVO PlGNONE S.pA              Bariven SA
     NUOVO PlGINOME 8-pA             Bariven BA              2015017602       EUR   € 1J24,984     24-$ep-15        2015017602

                                     Bariven SA              2015017570       EUR   € 3,323403     24-Sep-15        2015017570
     NUOVO PlGNONE S,pA
                                                             2015013288       EOR     E 108.899    1·6-Jul-15       2015018203
     NUOVO PIGNONE S.pA              Badven SA
                                     Bariven SA                  20150B1084   EUR     £ 437,704    28-Nov-16        20150B10B4
     NUOVO PlGNONE S.pA
                                     Bariven SA                  2015081083   EUR      € 81,513    28-Nov-15        2D15081083
     NUOVO PlGNONE S.pA
     NUOVO PlGNONE 8,pA              BMlver1 SA                  2016081082   EUR     E 201 766    28+Nov-1·5       20150B1002


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      NUOVO PIGNONE S.pA             Bariven S A              2015024204   EUR     E 17,200    17-Dec-15    2015024204
      NUOVO PGNONE S.pA              Bariven SA               2015023936   EUR     € 66.095    15-Deo15     2015023938
      NUOVO PfGNONE S.pA             Bariven SA               2015023937   EUR    E 110,224    15-Dac-15    2015023937
      NLIOVO PiGNONE S.pA            Bariven SA               2015023578   EUR     £ 13,970    15-Dec-15    2015023578
      NUOVO PIGNONE S.pA             Badven SA                2015023574   EUR     E 41,894    15-Dee-15    2015023574
      NUOVO PIGNONE S.pA             Bariven SA               2015023589   EUR     E 10,391    15-Dec-16    2015023589
      NUOVO PIGNONE S.pA             Bariven SA               2015023585   EUR    € 115,000    15-Dec-16    2015023585
      NUOVO PIGNONE S.pA             Bariven SA               2015023511   EUR    € 151,497    11-Dec-15    2015023511
      NUOVO PlGNONE S,pA             Bariven SA               2015024267   EUR    € 117,313    7-Jan-16     2015024267
      NUOVO PlGNONE S.pA             Bariven SA               2015024106   EUR     E 89,906    16-Dec-15    2015024106
      NUOVO PIGNONE S.pA             Bariven SA               2015024399   EUR     E 40,431    18-Dec 15    2015024399
      NUOVO PIGNONE S.pA             Bariven SA               2015025081   EUR     € 72,234    7-Jan-16     2015025081
      NUOVO PfGNONE S.pA             Bariven SA               2015022813   EUR    E543,076     4-Dec-15     2015022813
      NUOVO PIGNONE S.pA             Bariven SA               2016024870   EUR     € 69,609    21-Deo15     2015024670
      NUOVO PlGNONE S.pA             Bariven SA               2015024850   EUR    £ 239,230    22-Dec-15    2015024850
      NUOVO PGNONE S.pA              Bariven SA               2015025698   EUR     E 85,712    30-Dec-15    2015025698
      NUOVO PiGNONE S,pA             Bariven SA               2015023541   EUR     E 36.081    12-Dec-15    2015023541
      NUOVO PIGNONE S.pA             Bariven SA               2015022876   EUR    € 150J74     4-Deo-15     2015022876
      NUOVO PlGNONE 8,pA             Bariven SA               2015024087   EUR    E 801,931    16-Dec-15    20150240B7
      NUOVO PIGNONE S.pA             Bariven SA               2015022816   EUR    € 261,398    4-Dec-15     2015022816
      NUOVO PlGNONE S.pA             Beriven SA               2015017537   EUR    € 172,107    24-Sep-15    2015017537
      NUOVO PIGNONE S.pA             Bariven SA               2015017185   EUR       € 3.838   22-Sep-15     2018017185
      NUOVO P1GNONE S.pA             Bariven SA               2015015849   EUR     € 28.064    8-Sep-45      2015015849
      NUOVO P1GNONE S.pA             Bariven SA               2015014971   EUR         E 256   28-Aug-15     2016014971
      NUOVO PlGNONE S.pA             Bariven SA               2015014954   EUR       G 2,098   28-Aug-15     2015014954
      NUOVO PlGNONE S.pA             Beriven SA               2015014849   EUR     € 33,524    26-Aug-15     2015014849
      NUOVO PlGNONE S.pA             Bariven SA               2015020143   EUR     € 44.466    4-Nov-15      2015020143

      NUOVO PIGNONE S.pA             Bariven SA               2015023929   EUR    € 148,611    15-Dee-15     2015023929
      NUCVO PIGNONE S.pA             Bariven SA               2015024257   EUR       € 6,395   17-Dec-15     2015024257
      NUOVO PIGNONE S.pA             Bariven SA               2015024279   EUR    € 258,622    17-Dec-15     2015024279

      NUOVO P1GNONE S.pA             Bariven S A              2015024631   EUR      € 17,203   21-Dea-15     2015024631

      NUOVO PtGNONE S.pA             Bariven SA               2015024397   EUR    E 178.810    18-Dec-15     2015024397
      NUOVO PIGNONE S.pA             Bar1ven SA               2015024636   EUR     € 18,402    21-Dec-15     2015024638

      NUOVO PIGNONE S.pA             Bariven SA               2015023194   EUR    6 326,826    10-Dec-15     2015023194

      NUOVO PlGNONE S.pA             Bariven SA               2015025121   EUR    £ 558 318    24-Dec-15     2015025121

      NUOVO P1GNONE S.pA             Barhnen SA               2015024173   EUR       E 4JOS    17-Deo-is     2015024173
      NUOVO PlGNONE S.pA             Bariven SA               2015020070   EUR      € 71,467   4-Nov-15      2015020070
      NUOVO PIGNONE S.pA             Bariven SA               2015021192   EUR     E 88,738    18-Nov-15     2015021192

      NUOVO PlGNONE S.pA             Bar1ven SA               2015003404   EUR      G 56,640    5-Jun-15     2015003404

      NUOVO PIGNONE S.pA             Sariven SA               2015012620   EUR      E 84,960   30-Jun-15     2016012620

      NUOVO PIGNONE S.pA             Bariven SA               2015018136   EUR    € 194,110    29-Sep-15     2015018136
      NUOVO P1GNONE S.pA             Bariven SA               2015070585   EUR   E 2.275,526   30-Jun-15     2015070S85

      NUOVO PIGNONE S.pA             Bariven SA               2015006251   EUR   6 2,505,788   31-Mar-16     2015006251


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      NUOVO PIGNONE S.pA            Bariven SA               2015070586    EUR     E 338.620    30-Jun-15    2015070586
      NUOVO PIGNONE S.pA            Badven SA                2015014831    EUR     € 180,930    26-Aug-15    2015014831
      NUOVO PIGNONE S.pA            Bariven SA               2016070193    EUR     € 723,720    30-Mar-16    2016070193
      NUOVO PIGNONE S.pA            Bariven SA               2015018358    EUR     € 723,720    30-Sep-15    2016016358
      NUOVO PlGNONE S.pA            Beriven SA                   23546     EUR     € 171,346    11-Dec-14       23546
      NUOVO PIGNONE S.pA            Bariven SA                   24852     EUR      € 33,610    22-Deo-14       24852
      NUOVO PlGNONE S.pA            Bariven SA                   24863     EUR     E 130,112    22-Dec-14       24853
      NUOVO PIGNONE S.pA            Bariven SA               2015000001    EUR    € 1,090,000   7-Jan-15     2015000001
      NUOVO PlGNONE 8.pA            Sariven SA                   18996     EUR       E 86,057   27-Sep-14       18995
      NUOVO PlGNONE S.pA            Bariven SA                   18993     EUR     E 140,272    274ep-14        18993
      NUOVO PIGNONE S.pA            Bariven 8A               20150D3141    EUR     € 178,818    S-Mar-15     2015003141
      NUOVO PIGNONE S.pA            Berlven SA               2015003442    EUR       € 55,174   6-Mer-15     2015003442
      NUOVO PlGNONE S.pA            Bar1ven S A              2015004615    EUR    E 1,306,972   19-Mer-15    2016004015
     NUOVO PIGNONE S,pA             Barlven SA               2015003592    EUR     E 264,042    9-Mar-15     2015003592
     NUOVO PlGNONE S.pA             Badven SA                201fi004096   EUR     E 321,368    13-Mar-16    2015004096
     NUOVO PlGNONE S.pA             Bariven SA               2015004067    EUR      E 91,752    13-Nar-15    2015004007
     NUOVO PlGNONE S.pA             Bariven SA               2015004066    EUR        E 2,959   13-Mar-15    201500405S
     NUOVO PIGNONE S,pA             Buriven SA               2015004256    EUR     € 107,644    16-Mar-16    2016004256
     NUOVO PlGNONE 8.pA             Beriven SA               2015004826    EUR     E 316,526    19-Mar-15    2015004626
     NUOVO PlGNONE S.pA             Bariven SA               2015003182    EUR     € 189,149    3-Mar-15     2015003182
     NUOVO PIGNONE S.pA             Bariven SA               2015005694    EUR     E 519,190    26-Mar-15    2015005S94
     NUOVO PlGNONE S.pA             Badven SA                2015005332    EUR     E 460,790    25-Mar-15    2015005332
     NUOVO P1GNONE S.pA             Bariven SA               2015005249    EUR    E 1,461,276   31-Mar-15    2016006249
     NUOVO PlGNONE S.pA             Barlven SA               201500S119    EUR       € 71,831   24-Mer-16    201500S119
     NUOVO PfGNONE S.pA             Bariven SA               20150D5524    EUR     E 111,404    26-Mar-15    2015005624
     NUOVO PIGNONE S.pA             Barlven SA               20150086S1    EUR    € 1,009,745   26-Mar-1S    2015006651
     NUOVO PIGNONE S.pA             Bariven SA               2015011034    EUR     E 179,402    18-Jun-15    2015011034
     NUOVO PlGNONE S.pA             Bariven SA               2015010473    EUR        € 1,024   12-Jun-16    2015010473
     NUOVO PIGNONE S.pA             Bariven SA               2015011062    EUR       € 26,802   18-Jun-15    2015011062
     NUOVO PlGNONE S.pA             Bariven SA               2015010736    EUR     £ 174,060    18-Jun-15    2015010736
     NUOVO PiGNONE S.pA             Bariven SA               2015010702    EUR        € 2,611   15-Jun-15    2015010702
     NUOVC PfGNONE 8,pA             Bedven SA                2015010735    EUR     € 203,172    16-Jun-15    2015010735
     NUOVO P1GNONE S.pA             Bariven SA               2015010471    EUR     € 406,411    12-Jun-1S    2015010471
     NUOVO PIGNONE S.pA             Bariven SA               2016010209    EUR     € 930.999    10-Jun-15    2015010209
     NUDVD PIGNONE S.pA             Bariven SA               2015011234    EUR     E 160,111    19-Jun-15    2015011234
     NUOVO PlGNONE S.pA             Bariven SA               2015011197    EUR     E 162,07S    19-Jun-15     2015011197
     NUOVO PEGNONE S.pA             Bar)ven SA               2015011419    EUR     € 284,043    22-Jun-15     2016011419
     NUOVO PEGNONE S.pA             Bariven SA               2015011427    EUR       € 46,010   22-Jun-15     2015011427
     NUOVO PIGNONE S.pA             Bariven SA               2015D11321    1EUR     € 170,673   2D-Jun-15     2D15011321
     NUOVO PIGNONE S.pA             Berlven SA               2016011785    EUR      E 730,883   24-Jun-15    2015011785
     NUOVO PlGNONE S.pA             Beriven SA               2015012394    EUR    E 1,043,483   294un-15     2016012394
     NUOVO PlGNONE 8.pA             Bariven SA               2015011933    EUR     € 416404     25-Jun-15     2015011933
     NUOVO PlGNONE S.pA             Bariven SA               2015011187    EUR      € 300.625   18-Jun-15     2015011167


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      NUOVOPiGNONE   S.pA            Beriven SA              2015010747   EUR    E 60,497   16-Jup-15       2015010747
      NUOVO PlGNONE S-pA            Beriven SA               2015010737   EUR   € 590,724   16-Jun-15       2015010737
     NUOVO PIGNONE S.pA             BarIvan SA               2015010639   EUR    € 87,556   15-Jun-15       2015010639
     NUOVO PIGNONE S.pA             BarEvenSA                2015010638   EUR    E 39,051   15-Jun-15       2015010638
     NUOVO P1GNONE S.pA             Bariven SA               2015010462   EUR    € 26,285   12-Jon-15       2015010462
     NUOVO PIGNONE 8.pA             Berken SA                2015000283   EUR   € 250,980   154an-15        2015000283
     NUOVO PlGNONE S.pA             Bariven SA               2015013267   EUR   E 107,218   16-Jul-15       2015013287
     NUOVO P1GNONE S.pA             Beriven SA               2015013635   EUR    € 41,508   24-Jul-15       2015013635
     NUOVO P]GNONE S-pA             Bariven SA               2015016314   EUR    € 25 819   144ep-15        2015016314
     NUOVO PlGNONE S.pA             Bariven SA               2015016216   EUR   € 175,675   11-Sep-15       2015016216
     NUOVO PlGNONE S.pA             Beriven SA               2015015835   EUR   € 154,864   8-Sep-15        2015015835
     NUOVO PIGNONE S.pA             Badven SA                2015010494   EUR    € 30,375   124up-15        2015010494
     NUOVO PlGNONE S.pA             Sadven SA                2018013288   EUR    € 43,167   164ut-15        2015013288
     NUOVO PIGNONE S.pA             Bariven SA               2015013329   EUR    € 64,175   17-JuM5         2015013329
     NUOVO PlGNONE S.pA             Bariven SA               2015017421   EUR    £ 16,783   23-Sep-16       2015017421
     NUOVO PIGNONE S.pA             Berken SA                2015017177   EUR   € 214.579   22-Sep-15       2015017177
     NUOVO PIGNONE S.pA             Bariven SA               2015016189   EUR   € 629,030   11-Sep-15       2015016189
     NUOVD PlGNONE S.pA             Bariven SA               2015013942   EUR    € 12,124   3-Auœ15         2015013942
     NUOVO PIGNONE S.pA             Badven SA                2015015808   EUR    €36,178    8-sep-15        2015015608
     NUOVO PIGNONE S.pA             Badven SA                201501S807   EUR    E 98.150   8-Sep-15        2015015607
     NUOVO PIGNONE S.pA             Bariven SA               2018016875   EUR   € 323,018   17-Sep-15       2015018675
     NUOVO PfGNONE S.pA             Bariven SA               2015016756   EUR   €159.755    17-Sep-15       2015016756
     NUOVO PfGNONE S.pA             Sariven SA               20150175D7   EUR   € 974,184   24-Sep-15       2015017507
     NUOVO PIGNONE S.pA             Bariven SA               2015014973   EUR    € 33,024   28-AUg-15       2015014973
     NUOVO PIGNONE S.pA             Beriven SA               2015013879   EUR   € 101,366   274u1-15        2015013679
     NUOVO PlGNONE S,pA             Bariven SA               2015013477   EUR    E 27,307   214u1-16        2015013477
     NUOVO PlGNONE S.pA             Bariven SA               2018013264   EUR   € 284.810   164ul-15        2015013254
     NUOVO PIGNONE S.pA             Badven SA                2015013525   EUR   € 235,410   30-Jul-15       2015013825
     NUOVO P1GNONE S.pA             Bariven SA               2015015560   EUR    € 71,130   16-Sep-15       2015016550
     NUOVO P1GNONE S.pA             Beriven SA               2015020023   EUR    E 15,618   3-Nov-15        2015020023

     NUOVO P1GNONE S.pA             Bariven SA               2015025570   EUR   € 697,273   30-Dec-15       2015025570
     NUOVO PIGNONE S.pA             Bariven SA               2015025122   EUR   E 404,146   24-Deo-15       2015025122
     NUOVOPIGNONE    S.pA           Barivert SA              2015023927   EUR    € 95,353   15-Dec-15       2015023927

     NUOVO PIGNONE S.pA             Bariven SA               2015023334   EUR   € 373,883   10-Dec-15       2015023334
     NUOVO PIGNONE S.pA             Bariven SA               2015025626   EUR   (232,862    30-Dec-15       2015025626
     NUOVO PIGNONE 6,pA             Bar1ven SA               2015025827   EUR   € 139,948   30-Dec-15       2015025627

     NUOVO PlGNONE S.pA             Barlven SA               2015024856   EUR   € 120,355   21-Dec-15       2015024555
     NUOVO PIGNONE S-pA             Bariven SA               2015024665   EUR    € 57,667   21-Dec-15       2016024665
     NUOVD PlGNONE S.pA             Beriven SA               2015024105   EUR   € 328,429   16-Dec-15       2015024105

     NUOVO PIGNONE S.pA             Bariven SA               2015016459   EUR   € 306.879   15-Sep-15       2015016459

     NUOVO PIGNONE S.pA             Bariven SA               2015023560   EUR    € 55.064   12-Doo-15       2015023580

     NUOVO PIGNONE S.pA             Bariven SA               2015023553   EUR    € 55,031   12-Dec-15       2015023553

     NUOVO PlGNONE S.pA             Barlven SA               2015023542   EUR    € 46,218   12-Dec-15       2015023542


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      NUOVO PlGNONE S.p A.                8stiven SA                2015023138     EUR    € 208,430    10-Dec-15       2015023138
      NUOVO PlGNONE S.pA                  Bar1ven S.A.              201.8023059    EUR    E 170,582    9-Dec-15        2015023069
      NUOVO PEGNONE 8.pA                  Beriven SA                2015022893     EUR      € 63.743   4-Dee-15        2015022693
      NUOVO PtGNONE S..pA                 Badven SA.                2015022892     EUR       € 8,263   4-Deo-15        2015022892
      NUOVO PIGNONE 8.pA.                 Bariven SA                2015024669     EUR     € 16.459    21-Dec-15       2015024669
      NUOVO PEGNONE 8,pA                  Bariven SA                2016022865     EUR     € 18,585    4-Doo-15        2015022665
      NUOVO PfGNONE S.pA                  Bariven SA                2016024203     EUR    E 207,700    17-Ds0-16       2D15024203
      NUOVO PlGNONE S.pA                  Badven SA                 2015024193     EUR      E 28,219   17-Dec-15       2015024193
      NUOVO PiGiiOiiE    S.pA.            Bariven GA.               2015024258     EUR      €66,784    17-Dec-15       2016024258
      NUOVO PIGNONE S.pA.                 Badven SA                 2015024263     EUR      E 85,730   17.Dec-15       2015024263
      NUOVD PIGNONE 6,pA                  Badven S A.               2015022806     EUR     E 329,274   4-Dec-15        2015022806
      NUOVO PIGNONE S.pA                  Bariven SA                2015024654     EUR    € 494,585    21-De0-15       2015024654
      NUOVO PIGNONE S.pA.                 Bariven SA                2015011048     EUR      E62,100    18-Jun-15       201.5011048
      NUOVO PIGNONE S.pA                  sadven SA.                201600S805     EUR     € 177,075   24-MaM6         2016D05805
      NUOVO PIGNONE S.pA                  Bativen SA                2015025491     USD     5506,258    7-Aug-15        2015025491
      Vetco Gray Inc.                     Beriven SA                    10072601   USD     S659,540    25-Jun-15        10072601
      Vetco Gray Inc.                     Beriven SA                    10009150   USD     $426,564    20-Deo-14        10069150

      Vetco Gray inc.                     Badven SA.                    10069849   USD     S947,920    15-Aug-14        10069849
      Vetco Gray Inc.                     Bariven S A.                  19072639   USD     5701,216    264un-15         10072639
      vetco Gray Inc.                     Bariven SA                    10073826   USD     5374.625    25-Sep45         10073926
      Vetco Gray Inc.                     sarIvan S A.                  100783B3   USD    $2t248,984   31+Aug-15        10073383
      Vetco Gray Inc.                     Bariven SA                    10069850   USD     5369,800    28-Jan-15        10069850
     Vetco Gray Inc-                      Badven SA                     10079546   USD     5947,920    25·MeM5          10070846
      Vetoo Gray Inc.                     Bariven SA                    10070830   USD     S758,336    24-Mar-15        10070830
      Vetco Gray Irn                      Bariven S A                   10072640   USD     S829430     26-Jun-15        10072640
      Vetco Gray Inc.                     Badven SA                     10072841   USD     S568,752    28-Jun-15        10072641
      Welistream International Lirnited   Badven SA                      1006·t    USD   $23,666.912    54un-15           10081
      CORPORACION ESP VENEZUELA           p
                                              SAggo                      18804     USD            50   134an44           M-18804
      CORPORAC10N ESP VENEZUEl.A,         PDVSA
      C A.                                PETRÓLEO                       18696     USD        $2,406   30-Jarv14         M-18895
      CORPORACION ESP VENEZUELA,          PDVSA
      C.A.                                PETRÔLEO                       19882     USD      5161,230    6-Jan-15         M-19832
          RPORACEON ESP VENEZUELA,        P
                                              SROLEO                     19834     USD        $3 132    8"Jap·IS         M-19534
           PORACION ESP VENEZUEIA         P
                                              ROLEO                       19837    USD      $186,238    B-Jan-15         M49837
      CORPORACfON ESP VENEZUELA,          PDVSA
      CA                                  PETROLEO                       19841     USD        $7,544    648n45           l419841
      CORPORACION       ESP VENEZUEt,A,   PDVSA
      CA                                  PETROLEO                       19879     USD          $679   26-Jon-15         M-19879
      CORPORACION       ESP VENEZUELA,    PDVSA
      CA                                  PETRÔLEO                       19907     USD          5214    2f00-15          M-19907
      CORPORACfON       ESP VENEZUELA,    PDVSA
      CA                                  PETRÔLEO                        19921    USD       $65,127   24-Feb-15         M-19921
      CORPORACION ESP VENEZUELA,          PDVSA
      CA                                  PETRÓ1-EO                       19986    USD       596,301    26-Jan45         M-19866
           PORACION ESP VENEZUELA,
                                          Pp       EO                     19868    Usp      $134,910    264an-15         M49868
      coRPORACION       ESP VENEZUELA,    PDVS
                                                  1.EO                    19925    USD       $87,120    24-Feb-15        M49925

      CORPORAC10N       ESP VENEZUELA,    PDVSA                           19874    USD          $909    28-Jan-15        M-19874

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      CA                            PETRÔLEO
      CORPORACION ESP VENEZUELA,    PDVSA
      CA                            PETRÓLEO                    19872   USD      $3,772    26-Jan-15        M-19872
      CORPORACION ESP VENEZUELA,    PDVSA
      OA                            PETROLEO                    1987U   USD      $3,772    264an45          M-19870
      CORPORACION ESP VENEZUE½      PDVSA
      C A.                          PETROLEO                    19923   USD    $203,544    24-Feb-15        M•19923
      CORPORACION ESP VENEZUELA,    PDVSA
      CA                            PETROLEO                    19876   USD      S7,200    26-Jan-15        M49876
      CORPORACEON ESP VENEZUELA,    PDVSA
      C.A.                          PETROLEO                    200D1   USD    S112,142    9-Mar-15         M-20001
      CORPORAClON ESP VENEZUE½      PDVSA
      CA                            PETRÓLEO                    19937   USD      $1,035    24-Feb-15        M-19937
      CORPORACEON ESP VENEZUEIA     PDVSA
      CA                            PETRÔLEO                    19989   USD          S2    24Feb-15         M-19939
      CORPORACEON ESP VENEZURA,     PDVSA
      CA                            PETRÓLEO                    19948   USD    5102,.890   24Feb-15         M49948
      CORPORACEON ESP VENEZUELA,    PDVSA
      CA                            PETRÔLEO                    20006   USD      64.815    9-Mar-15         M-20005
      CORPORACION ESP VENEZUELA,    PDVSA
      CA                            PETROLEO                    20003   USD     S41A68     9-Mar-1.5        M-20003
      CORPORACtON ESP VENEZUELA,    PDVSA
      CA                            PETRÓŒO                     19950   USD      $7,26D    24-Feb-15        M-19950
      CORPORACEON ESP VENEZUELA,    PDVSA
      CA                            PETRóLEO                    20035   USD        S252    24-Mar-15        M-20035
      CORPORACION ESP VENEZUELA,    PDVSA
      CA                            PETROLEO                    20037   lJSD       5252    24-Mar-15        M-20037
      CORPORACION ESP VENEZUELA,    PDVSA
      CA                            PETRÓLEO                    20040   USD     $8$,355    24Mar-15         M-20040
      CORPORACION ESP VENEZUELA,    POVSA
      CA                            PETRÔLEO                    20055   USD    S157,502    24-Mar-15        M-20055
     CORPORACION ESP VENEZUELA,     PDVSA
     CA                             PETRÔLEO                    19931   USO    S140,164    24-Feb-15        M-1BB31
     CORPORACION ESP VENE2UELA,     PDVSA
     CA                             PETRÓLEO                    19935   USD      57,200    24-Feb-14        M.-19935
     CORPORACION ESP VENEZUELA,     PDVSA
     CA                             PETRÓLEO                    19895   USD      $7,200    27-Jan-15        M-19896
     CORPORACON    ESP VENEZUELA    PDVSA
     CA                             PETRÖŒQ                     2D086   USD      $6,236    7-Apr-15         M-20086
     CORPORACION   ESP VENEZUELA.   PDVSA
     CA                             PETRÓl..EO                  20040   USD     628.488    24-Mar46         M-20046
     CORPORACION   ESP VENEZUEtA    PDVSA
     CA                             PETROLEO                    20044   USD     S68,597    24-Mar-16        M-20044
     CORPORACION   ESP VENEZUE½     PDVSA
     CA                             PETROLEO                    20051   USD     S88,695    24Mar-16         M-20051
     CORPORACION   ESP VENEZUE¼     PDVSA
     CA                             PETROLEO                    19933   USD     $73,331    24Feb45          M-19933
     CORPORAD1ON ESP VENEZUEIA      PDVSA
     CA                             PETROLED                    20042   USD      51.100    24-Mar4 S        M-20042
     CORPORACION ESP VENEZUELA,     PDVSA
     CA                             PETROLEO                    20059   USD      S7.260    24,Mar.15        M-200S9
     CORPORACION ESP VENE2UEIA      PDVSA
     CA                             PETRÔLEO                    2D057   USD        S273    24-Mar-15        M-20057
     CORPORACION ESP VENEZUELA,     PDVSA
     CA                             PETRÔLEO                    20053   USD        3182    24-Mar-15        M-20053
     CORPORACEON ESP VENEZUELA,     PDVSA
     CA                             PETROLEO                    18829   USD        $263    24Pe-15          M-19929
     CORPORADION ESP VENEZUE¼       PDV8A
     CA                             PETROLEO                    20118   USD     $60,983    24-Apr-15         M-20118
     CORPORACION ESP VENEZUELA,     PDVSA
     CA                             PETROLEO                    20116   USD     S19,591    24-Apr-15         M-20116
     CORPORACION   ESP VENEZUELA.   PDVSA
     CA                             PETRÒLEO                    20114   USD     567,623    24Apr-15          M-20114
     CORPORACION   ESP VENEZUELA,   PDVSA
     CA                             PETRÒLEO                    20120   USD     $22,234    24.Apr-15         M-20120
     CORPORACION   ESP VENEZUEIA    PDVSA
     C-A,                           PETROLEO                    20123   USD      $3,830    244pr-t6          M-20123


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      CORPORACION ESP VENEZUE¼         PDVSA
                                                            200 B           USD      57,280    24-Mar-15        M-20048
           RPORACION ESP VENEZUEEA     PDV
                                                    O       20096           USD     S82.515    23-Apr45         M-20098
           RPORACION ESP VENEZUE¼      p
                                                                  7         WD     $15099      23-Apr-15        M-20107
           RPORACION ESP VENEZUE¼      P
                                               60           2D112           USD     523,785    23-Apr-15        M-20112
           RPORACON   ESP VENEZUELA,   PD
                                       PP      LEO          20104           USD    S176,068    23-Apr-15        M-20104
           RPORACIDN ESP VENEZUELA,
                                                                            WD      $86M       234pr-15         M-20102
      C     PORACION ESP VENEZUELA,    PD
                                       PP       O           201DD           USD    $227.478    23-Apr-15        M-20100
            PORACION ESP VENEZUELA,
                                             OLEO           20188           USD    5223,055    25-May-15        M-20188
             ORACION ESP VENEZUELA,
                                                            20              USD      S3,412    27-Apr-15        M-20150
           RPORACION ESP VENEZUE½      POVSA
                                           OLEO             20187           USD       $9,786   22-May-15        M-20187
         RPORACION ESP VENEZUELA,
      C.A.                             PETROLEO             20192           USD    5158,568    25-May-15        M-20192
      CORPORACION ESP VENEZUELA,       PDVSA
      CA                               PETROLEO             20155           USD     527,563    27-Apr-15        M-2D156
      OORPORACION ESP VENEZUE¼         PDVSA
      C,A.                             PETROLEO             20152           USD       $5,119   27-Apr-15        M-20162
      CORPORACION ESP VENEZUE½         PDVSA
      CA                               PETROLEO             20200           USD     $53,796    26-May-15        M-20200
      CORPORACION     ESP VENEZUE¼     PDVSA
      CA                               PETROLEO             20238           USD     S17,041     34un-15         M-20238
      CORPORACION ESP VENEZUE¼         PDVSA
      CA                               PETROLEO             20217           USD        $306    26-May-15        M-20217
     CORPORACION      ESP VENEZUE½     POVSA
     CA                                PETROLEO             20266           USD    $142,910    18-Jun-15        M-20268
     CORPORACION ESP VENEZUE¼          PDVSA
     CA                                PETROLEO             2D270           USD       $6,788   18-Jun-15        M-20270
     CORPORACION      ESP VENEZUELA,   PDVSA
     CA                                PETRÓLEO             20272           USD     S08,278    184urM5          M-20272
     CORPORACloN      ESP VENEZUE¼     PDVSA
     CA                                PETROLEO             20219           USD      S22,028   25-May-15        M-20219
     CORPORACION ESP VENEZUE¼          PDVSA
     CA                                PETRÒLEO             20327           USD     660,296     9-Jul-15        M-20327
     CORPORAC1ON ESP VENEZUE½          PDVSA
     CA                                PETROLEO             20279           USD      $66,274   22-Jun-15        M-20279
     CORPORACION ESP VENEZUE½          PDVSA
     CA                                PETROLEO             20281           USD    3102,387    22-Jun-15        M-20261
     CORPORACLONESP      VENEZUE¼      PDVSA
     CA                                PETROLEO             20268           USD      336.82S   18-Jun-i$         M-20268
     CORPORACIONESP      VENEZUE½      PDVSA
     CA                                PETRÓLEO             20317           USD       S7,373   23-Jun-IS        M-20317
     CORPORACON       ESP VENEZUELA,   PDVSA
     CA                                PETRóLEO             20450           USD   51,279.940    8-OcM5           M-20450
     CORPORACION      ESP VENEZUELA,   PDVSA
     CA                                PETROLEO             20277           USD      $22,678   22-Jun-16         M-20277
     CO PORACION ESP VENEZUEW          PDVS             Fact x  prirnir
                                                                                      S1,099   19-Mar-16         M-20545
     CORPORACION ESP VENEZUE¼          PDVSA            Fact x Ignprirnlr
     C A                               PETROLEO                54           USD      $87,035   22-Mar-16         M-20SS6
     C   PORAC1ON ESP VENEZUE½           VSA            Fact x     rimir
                                                                                                g.geus           M-20528
            PORACION ESP VENEZUELA,    P                Fact x    primir
                                                                                                g                MD530
     CORPORACION      ESP VENEZUELA,   P                Pact x    primir
                                                                            uso     $129,521   19-Mar-16         M-20S34
     C      PORACION ESP VENEZUE       PDV A            Pact x    pdrpir
                                                                                                           s     M-20543

     GE OlL & GAS LOGGING SERVICES,    PDVSA                17453           USD      $70,200    2-Feb-15          17453
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     CA                                 PETRÔLEO
     GE OdL & GAS LOGGING SERVICES,
                                        PDE   WO                  17461    USD      S90,240   2-Feb-15          17461
          OlL 8 GAS LOGGING GGRVICES,   PDVSA
                                                                   7       use     S130,763   2-Feb-16          17463
     GE OIL & GAB LOGGING SERVICES,
                                                                   7       USD      S50,004   2,Feb-15          17459
     GE OIL & GAS LOGGING SERVlCES.     PD
                                                                                   $125,739   2-Fee-15          17457
     GE OIL   & GA6 LOGGING SERVfGES.   PDVSA
     CA                                 PETRÓLEO                  17465    USD      $60,180   4-Feb-15          17465
     GE OlL   & GAS LOGGING SERVICES,   PDVSA
     C.A                                PETRÓLEO                  17478    USD     S204.074   20-Feb-15         17478
     GE OfL   & GAS LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                  17476    USD      S70.200   20-Feb-15         17476
     GE OfL   & GAS LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                  97470    USD     S170,583   20#e0-15          17470
     GE       & GAS LOGGING SERVICES,
                                        PDVP
                                          TROLEO                  17472    USD      $89300    24Feb-16          17472
     GE OfL & GAS LOGGFNG SERVICES,     PDVSA
     CA                                 PETRÓLEO                  17474    USD     6132,300   20fen-15          17474
     GE     & GAS LOGGING SERVICES,
                                        PDVP
                                          TROLEO                  17501    , USD    525,500   104ar-·15
     GE       & GAS LOGGFNG SERVICES.   PD
                                          TRÓLEO                  17499     USD     $67,200   1.0Mar45          17499
     GE OIL & GAS   LOGGfNG SERVICES,   PDVSA
     GA                                 PETROLEO                  17503     USD    $140 151   10Mar-15          17603
     GE OIL & GAS   LOGGING SERVIGEG.   PDVSA
     CA                                 PETRÓLEO                  1.7511    USD     SS2,10D   13MaMS            17611
     GE OIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                  17497     USD      $8,218   44aM5             17497
     GE 01L & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                  17496     USD      $4,125   4-Mar-15          f 7495
     GE OIL & GAS   LOGGfNG SERVrCES,   PDVSA
     CA                                 PETRóLEO                  17493     IJSD     S8,063   4WaMS             17493
     GE OIL & GAS   LOGGfNG SERVICES,   PDVSA
     CA                                 PETRÓLEO                  f 7491    LISO   $388,789    4War-15          17491
     GE OIL & GAS   LOGGFNG $ERVICES    PDVSA
     CA                                 PEmÔLEO                   17469     USD     $18,371    4-Mar-15         17489
     GE OIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÒLEO                  17467     USD      $1ßBS     4-Mar-15         17487
     GE OLL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                  17485     USD        S875    4#ar-16          17465
     GE OIL & GAS   LOGGfNG SERVICES,   PDVSA
     CA                                 PETRÒLEO                  17483     USD        S243    4#ar-15          17483
     GE O[L & GAS   LOGGING SERVICES,   POV8A
     CA                                 PETROLED                  17481.    USD      $5,375    4#aMS            17481
     GE OIL & GAS   LOGGING SERVICES,   FDV8A
     CA                                 PETRÓLEO                  17506     USD     564,920   13WaM5            17505
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLE0                  17507     USD     $69,600   13-Mar-15         17507
     GE CIL & GAS   LOGGING SERVICES.   PDVSA
     CA                                 PETROLE0                  17509     USD     S61,600   13-Mar-15         f 7509
     GE OIL 5 GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                  17616     USD     S87,458    6-ApMS           17516
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                  17514     usD     369.840    6-Apr-15         175M
     GE OlL & GAS   LOGGING SERVTCES,   PDVSA
     CA                                 PETRÓLEO                  17618     USD     569,000    10-Apr-15         175f 8
     GE OIL & GAS   LOGGING SERVICES.   PDVSA
     CA                                 PETROLEO                  17520     USD     360,000    10-Apr-15         17520
     GE CIL & GAS   LOGGING SERVICES,   PDVSA
     0,A                                PETRÒLEO                  17522     USD     $68,886    10-ApMS           17522
     GE OIt & GAS   LOGGNG SERVICES,    PDVSA
     CsA                                PETRÒLEO                  17524     IJSD    $70,410    10 Apr-15         17524
     GE OlL & GAS   LOGGING SERVICES,   POVSA
     CA                                 PETROLEC                  17528     USD     $69.594    10-Apf-15         17526


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     GE OIL & GAS   LOGGING SERV[CES,   PDVSA
     CA                                 PETROLEO                 17528   USD   $61.,200    10.Apr-16      17528
     GE OIL & GAS   LOGGNG SERVICES,    FDVSA
     CA                                 PETRÔLEO                 17530   USD   $66 240     10-Apr48       17$30
     GE OlL & GAS   LOGGING SERVICES.   PDVSA
     CA                                 PETROLEO                 17532   USD   $83,300     10-Apr-15      17532
     GE OfL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17534   USD   $61.200     10-Apr-15      17534
     GE Oil & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                 17545   USD   S81.200     22-Apr-15      17645
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17547   USD    S65,700    22-Apr.15      17547
     GE 01L & GAS   LOGGING SERVICES.   PDVSA
     C.A                                PETROLEO                 17536   USD    S25,500    17-Apr-15      17636
     GE 01L & GAS   LOGGING SERVICES.   PDVSA
     CA                                 PETRÓLEO                 17535   USD    578,600    17-Apr45       17638
     GE OIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17640   USD   364.BDD     17-Apr-15      17540
     GE Olt & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17550   USD   $63.000     27    I-16     17550
     GE OLL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17552   USD    $61,200    27-Apr-15      17552
     GE OIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17554   USD    $68,088    27-Apr-16      17554
     GE OLL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17656   USD    S$1,200    27-Apr45       17556
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                 17558   USD    S10,200    27-ApF15       17558
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÔLEO                 17560   USD    S61.365    27.Apr45       17560
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÔLEO                 17564   USD    570,794    6-May45        17584
     GE OtL & GAS   LOGGING SERVICES,   PDVSA
     C.A                                PETROLEO                 17562   USD    S74,730    29-Apr-15      17662
     GE OlL & GAS   LOGGING SERVICES.   PDVSA
     CA                                 PETROLEO                 17568   USD    $64.800    20-May-15      17586
     GE OlL & GAS   LOGGNG SERVICES,    PDVSA
     CA                                 PETROLEO                 17568   USD    861.200    2D-May-15      17508
     GE OIL & GAS   LOGGNG SERVICES,    PDVSA
     CA                                 PETROLEO                 17571   USD   S102.744    26-May-15      17571
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                 17575   USD    575,458    26-May45       17573
     GE OlL & GAS   LOGGNG SERVICES,    PDVSA
     CA                                 PETROLEO                 17575   USD    $67,835     8-Jun45       17575
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÔLEO                 17577   USD    $64,,320   8-Jun-15       17577
     GE OIL & GAS   LOGGING SERVICES.   PDVSA
     CA                                 PETRÓLED                 17579   USD    $69,900    8-Jun-16       17579
     GE OlL & GAS   LOGGING SERVICES.   PDVSA
     CA                                 PETROLED                 17581   USD    $61,770     8-Jun-15      17581
     GE OlL & GAS   LOGGING SERVECES.   PDVSA
     CA                                 PETRÓLEO                 17553   USD    $89,600     8-Jun-15      17583
     GE CIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                 17585   USD    $61,200     8-Jur4-15     17686
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÔLEO                 17587   USD    $69,800     8-Jun-15      17587
     GE DIL 5 GAS   LOGGNG SERVICEs,    PDVSA
     CA                                 PETROLEO                 17589   USD    $70,800     S-Ju&1.5       17559
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     C,A                                PETROLED                 17894   USD    581,3B0    10-Juo15       17894
     GE OIL 6 GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                 17602   USD    $10.200    25-Jun-15      17602
     GE OIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÔLEO                 17597   USD    511,160    25.Juri-15     17597
     GE OlL & GAS   LOGG1NG SERVICES,   PDVSA
     C.A                                PETROLEO                 17600   USD    $11,064    25-Jun-15      17800

      GE OIL & GAS LOGGING SERVICES.    PDVSA                    17612   USD    S10,200     15-Jul-15      17612


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      CA                                  PETRÓLEO
     GE OIL & GAS    LOGGING SERVICES.    PDVSA
     CA                                   PETRÓLEO                   17610   USD   $15,612   15-Jul-15         17610
     GE OIL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   1760B   USD   S17.256   15-Jul-16         17608
     GE OlL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETRÓLEO                   17606   USD   $13,800   154u1-15          17600
     GE OlL & GAS    LOGGING SERVICES.    PDVSA
     CA                                   PETRÓLEO                   17604   USD    S3,480   154ul-15          17604
     GE OlL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17614   USD   S15,000   154ul-15          17614
     GE OIL 8 GAS    LOGGING SERVICES,    PDVGA
     CA                                   PETRÓLEO                   17616   USD   $29,634   16-Jul-15         17616
     GE 01L & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETRÓLEO                   17616   USD   S10,202   16-Jul46          17618
     GE OIL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PITFRÓLEO                  17620   USD   S10,200   16-Jul-15         17620
     GE O[L & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17622   USD   S19,800   164ul-15          17622
     GE O[L & GAS    LOGGING SERVICES.    PDVSA
     CA                                   PETRóLEO                   17624   USD   S12.900   16-Jul-16         17624
     GE 011,,& GAS   LOGGING SERVICES.    PDVSA
     CA                                   PETROLEO                   17841   USD   S13,152   6-Aug-15          17641
     GE OFL& GAS     LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17643   USD   510,202   6-Aug-15          17643
     GE OIL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17827   USD   $11,400   29 4u1-15         17627
     GE OlL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETRÓLEO                   17629   USD   518 000   294ul-15          17629
     GE OIL & GAS    LOGGI NG SERVICES,   POVSA
     CA                                   PETRÓLEO                   17631   USD   S15.600   29-Jul-18         17631
     GE OIL & GAS    LOGGING SERVICES,    POVSA
     CA                                   PETRÔLEO                   17645   USD   525,500   6-Aug+16          1764S
     GE OIL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17637   USD   S10,200   29-Jul-15         17637
     GE OlL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETRÓLEO                   17633   USD   S10,200   294ul-15          17638
     GE 010 & GAS    LOGGING SERVICES.    PDVSA
                                          PETRÓLEO                   17635   USD   $12,660   294ul-15          17635
     GE OIL &   GAS LOGGING SERVICES,     PDVSA
     C.A                                  PETROLEO                   17651   USD   $10,200   18-Aug-15         17651
     GE OIL &   GAS LOGGING SERVICES,     PDVSA
     C.A                                  PETROLEO                   17849   USD   S16,000   18-Aug-15         17649
     GE 01L &   GAS LOGGING SERVICES,     PDVSA
     CA                                   PETR6LEO                   17647   USD   $12,960   18-Aug-15         17647
     GE OlL &   GAS LOGGING SERVICES,     PDVSA
                                          PETROLEO                   17662   USD   S23,040   7-Sep45           17662
     GE 01L & GAS    LOGGING SERVICES,    POVSA
     C.A                                  PETROLEO                   17664   USD   S10,200   7-Sep-15          f 7664
     GE 01L & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETRÓLEO                   17666   USD   $10,200   7-Sep-15          17686
     GE OfL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETRÓLEO                   17868   USD   515,660   7-Sep-15          17668
     GE OIL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17670   USD   $22,380   16-Sep45          17670
     GE OIL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17672   USD   510,202   16-Sep-15         17672
     GE 01L & GAS    LOGGlNG SERVICES,    PDVSA
     CA                                   PETRÔLEO                   17074   USD   312,000   16-Sep-15         17074
     GE OIL & GAS    LOGGING SERVICES,    PDVSA
     CA                                   PETROLEO                   17676   USD   310,200   16-Sep-15         17676
     GE OIL & GAS    LOGGrNG SERVICES,    PDVSA
                                          PETROLEO                   17678   USD   315,600   16-Sep-15         17678
     GE 01L & GAS LOGGING SERVICES,       PDVSA
     CA                                   PETROLEO                   17680   USD   $10,440   16-Sep-15         17680
     GE OIL & GAS LDGGING SERVICES,       PDVSA
     CA                                   PETRÓLEO                   17682   USD   S19.560   23-Sep·15         17882


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      GE OIL & GAS LOGGING SERVFCES,   PDVSA
      CA                               PETROLEO                  17685   USD   $10,200   13.0cM5          17685
      GE OIL & GAS LOGGING SERVlCES,   POVSA
     CA                                PETROLEO                  17704   USD   S12,000   23-Oct-15         17704
     GE OlL & GAS LOGGING SERVICES,    POVSA
     CA                                PETRóLEO                  17700   USD   $12,D00   23-OcM5           17700
     GE OIL & GAS LOGGENG SERVICES.    PDVSA
     CA                                PETROLEO                  17698   USD   S10.200   23.0ct-15         17698
     GE OlL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17696   USD   $19.320   23-Oct-15        17696
     GE OIL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETRÔLEO                  17693   USD   S11,400   23-Qct-15        17693
     GE OtL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17690   USD   S10,200   23-Oct-16        17690
     GE 010 & GAS LOGGING SERVICES,    PDVSA
     CA                                PETR&LEO                  17688   USD   S18,720   23-OcM$           17868
     GE OIL & GAS LOGGING SERVICES.    PDVSA
     CA                                PETROLEO                  17740   USD        SS   18-Nov-15         17740
     GE OIL & GAS LOGGING SERVICES.    PDVSA
     C.A                               PETROLEO                  17742   USD   S69,460   18-Nov-15         17742
     GE OlL & GAS LOGGING SERVICES,    PDVBA
     CA                                PETROLEO                  17744   USD    62,526   18-Nov-15         17744
     GE OlL & GAS LOGGING SERVICES.    PDVSA
     CA                                PETROLEO                  17746   USD    54,50D   18-Nov45          17746
     GE 01L & GAS LOGGING SERVICES.    PDVSA
     CA                                PETROLEO                  17748   USD        $3   18-Nov-15         1774B
     GE OIL & GA8 LOGGING SERVICES.    PDVSA
     CA                                PETRÓLEO                  17750   USD    S4,032   18-Nov-16         17750
     GE OIL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17752   USD   SE2,764   18-Nov-16         17752
     GE OIL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETRÓLED                  17754   USD   352,ODB   18-Nov-15         17754
     GE OIL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17755   USD        $3   18-Nov-15         17756
     GE OlL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17758   USD   S26.500   18-Nov48          17768
     GE 01L & GAS LOGGING SERVICES,    PDVSA
     C.A                               PETROLEO                  17760   USD   $51,000   18-Nov-16         17760
     GE OjL & GAS LOGGPNG SERVICES,    PDVSA
     CA                                PETROLEO                  17762   USD   552,a00   18-Nov-16         17762
     GE Ott & GAS LOGGING SERVICES,    PDVSA
     CA                                PETRÓLEO                  17766   USD   351,000   18-Nov-15         17756
     GE OIL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  1778B   USD   $52,800   18-Now15          17768
     GE01L & GAS LOGGING SERVICES,     PDVSA
     C,A                               PETRÓLEO                  17770   USD   551.000   1841ov45          17770
     GE OIL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETRÓLEO                  17772   USD   $26,500   18-Nov46          17772
     GE OlL & GAS LOGGING BERVICES,    PDVSA
     CA                                PETRÓLEO                  17774   USD   $25,500   18-Nov-15         17774
     GE 010 & GAS LOGGING SERVICES,    PDVSA
     C.A                               PETROLEO                  17776   USD   $67,840   18-Nov45          17776
     GE OlL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17778   USD   S25,500   18-Nov-15         17778
     GE OlL & GAS LOGGING SERVICES,    PDVSA
     C.A                               PETROLEO                  177B0   USD   $51.0DD   18-Nov-15         17780
     GE OlL & GAS LOGGING SERVICES,    PDVSA
     C.A                               PETRÓLEO                  17762   USD   352,800   18-Nov-15         17782
     GE 01L & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17784   USD   $S6,403   18-Nov45          17784
     GE Olt & GAS LOGGING SERVICES.    PDVSA
     CA                                PETROLEO                  17786   USD   $58,200   18-Nov-15         17786
     GE OlL & GAS LOGGING SERVICES,    PDVSA
     CA                                PETROLEO                  17788   USC   $64,440   18-Now15          17788
     GE OLL& GAS LOGGING SERVICES,     PDVSA
     CA                                PETRÓLEO                  17790   USD   851,000   18-Nov 15         17790

     GE OIL & GAS LOGGING SERVICES,    PDVSA                     17792   USD   S$1,000   18-Nov-15          17792


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      CA                                 PETRÓLEO
      GE OIL & GAS LOGGING SERVICES,     PDVSA
                                         PPETROLEO            17794   USD   $51,000    18-Nov-15        17794
      G OFL& GAS LOGGING SERVICES,
      C.A                                PETROLEO             17786   USD   856.670    18-Nov-15        17795
      GE Oll & GAS LOGGING SERVICES,     PDVSA
                                                              17798   USD   s51,000    18-Nov-15        17795
           OlL & GAS LOGGING SERVICES,   PDVSA
                                          WEmÔLEO             17800   USD   $51,000    18-Nov-15        17800
           OlL & GAS LOGGING SERVICES,
     CA                                  PETRÒLEO             17802   USD   $51,000    18-Nov-15        17802
     GE OlL & GAS   LOGGING SERVICES,    PDVSA
     CA                                  PETROLEO             17804   USD   S34,500    18-Nov-16        17804
     GE OlL & GAS   LOGG1NG SERV[CES,    PDVSA
     CA                                  PETROLEO             17806   USD   S60,972    18-Nov-16        17896
     GE OIL & GAS   LDGG1NG SERVICES,    PDVSA
     CA                                  PETROLEO             17808   USD   551,003    18-Nov-15        1780s
     GE OIL & GAS   LOGGING SERVICES,    PDVSA
     C.A                                 PETROLEO             17810   USD   553.898    18-Nov-15        17810
     GE 01L & GAS   LOGGING SERVICES,    PDVSA
     C.A                                 PETROLEO             17512   USD   551,000    18.Nov-15        17812
     GE 01L & GAS   LOGGING SERVICES,    PDVSA
     CA                                  PETROLEO             17814   USD   $51,003    18Wov-15         17814
     GE OlL & GAS   LOGGING SERVICES,    PDVSA
     CA                                  PETROLEO             17816   USD   SS2,803    18-Nov-16        17816
     GE OJL & GAS   LOGGING SERVICES.    PDVSA
     CA                                  PETROLEO             17818   USD   $51,000    18-Nov-15        17818
     GE OlL & GAS   LOGGING SERVICES,    PDVSA
     CA                                  PETRÔLEO             17820   USD   $51,003    18-N#15          17820
     GE OlL & GAS   LOGGING SERVICES,    PDVSA
     CA                                  PETROLEO             17822   USD   S51,008    18-Nov-15        17822
     GE OlL 8 GAS   LOGGING SERVICES.    PDVSA
     CA                                  PETRóLEO             17824   USD   558,434    18-Nov-15        17824
     GE OfL & GAS   LOGGING SERVICES,    PDVSA
                                         PETR0LEO             17826   USD   S01,000    18-Nov-15        17826
     GE    OIL & GAS LOGGING SERVICES,   PDVSA
     CA                                  PETRÓLEO             17828   USD   S51,0D0    16-Nov-15        17825
     GE    OlL & GAS LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO             17830   USD   $51,000    184Iow-15        17880
     GE    OlL & GAS LOGGING SERVICES,   PDVSA
     CA                                  PETRÔLEO             17832   USO   $51,000    18-Nov-15        17832
     GE    OlL & GAS LOGGING SERVECES,   POVSA
     CA                                  PETROLEO             17834   USD   $S1,000    18-Nov-1.5       17834
     GE    OlL & GAS LOGGING SERVICES,   POVSA
                                         PETRho               17836   USD   351,000    18409-15         17836
     GE OIL & GAS LOGGING SERVICES,      PDVSA
     CA                                  PETROLEO             17706   USD   S5toOD     15-Nov-16        1770s
     GE OIL & GAS LOGGING SERVICES,      PDVSA
     CA                                  PETRÓLEO             17708   USD    38,120    18.Nov-15        17708
     GE Oft & GAS LOGGING SERVICES.      PDVSA
                                         PETROLEO             17710   USD   595,426    16.Nov-15        17710
     GE 01L & GAS LOGGING SERVICES.      PDVSA
     OA                                  PETROLEO             17712   USD   S77,220    16Wo7-15         17712
     GE OIL & GAS LOGGING SERVICES,      PDVSA
     CA                                  PETROLEO             17714   USD   513,710    16-Nov-15        17714
     GE OlL & GAS LOGGING SERVICES.      PDVSA
                                         PEmÔLEO              17716   USD   558,800    16-Nov-15        17716
     GE    OlL & GAS LOGGLNG SERVICES,   POVSA
     CA                                  PETRÔLEO             17718   USD   582,836    16-Nov-15         17718
     GE    OlL 8 GAS LOGGING SERVICEB,   PDVSA
     CA                                  PETRóLEO             17720   USD   $25,500    16-Nov-tS        17720
     GE    OlL & GAS LOGGING SERVICES,   PDVSA
     CA                                  PETRÔLEO             17738   USD    SW        the
     GE    OIL & GAS LOGGING SERVICES.   PDVSA
     CA                                  PETRÓLEO             1770s   ygg         $3   16-Nov-15        17736
     GE    OIL & GAS LOGGING SERVICES,
                                         PWgTR   O            17734   USD         SS   16-Nov-15         17734


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     GE OIL 8 GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                17732    USD        S3    16-Now15       17732
     GE OH..& GAS   LOGG1NG SERVDCES,   PDVSA
     CA                                 PETRÓLEO                17730    USD   $72,300    18-Nov-15      17730
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                17728    USD   561,203    16-Nov-15      17728
     GE01&    GAS   LOGGlNG 8ERV[CES,   PDVSA
     C.A                                PETRÓLEO                17726    USD   564,182    16-Now15       17726
     GE OfL & GAS   LOGGlNG SERVICE8,   PDVSA
     CA                                 PETRÓLEO                17724    USD   $80,000    18+fov-15      17724
     GE OIL & GAS   LOGG1NG SERVICES,   PDVSA
     C.A                                PETRÓLEO                17722    USD   581,320    18+Io9-15      17722
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     C.A                                PETRÓLEO                17838    USD   $51,000    IB-Nov-15      17888
     GE OIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÔLEO                17840    USD   $51,003    18-Nov-15      17840
     GE 01L & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                1.7842   USD   $63,700    18-Nov 15      17842
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETRÓ1..EO              17844    USD   S60,324    18-Nov-15      17844
     GE OLL& GAS    LOGGING SERVICES,   PDVSA
     CA                                 PETRÓLEO                1.7848   USD   $51.005    18-Now15       17846
     GE DIL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLE0                17848    USD   352.893    18¬Nov-15      17B48
     GE Olt & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                17850    USD   551,000    1S410v-15      17B50
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                17851    USD   551,000    18-Nov-15      17851
     GE OlL & GAG   LOGG[NG SERVICES,   PDVSA
     C.A                                PETROLEO                17664    USD   654,600    2-cee-15       17864
     GE 01L & GAS   LOGGENG SERVICES,   PDVSA
     C.A                                PETRÓLEO                17854    USD        53    25-Nov45       17854
     GE 01L & GAS   LOGGING SERVICES,   PDVBA
     C.A                                PETRÓLEO                17856    USD    $1,800    25-Now16       17856
     GE Olt 8 GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                1785B    USD   S60,000    25-Nov-15      17858
     GE Olt 8 GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                17860    USD   S70,170    25-Nov-15      17960
     GE 010 & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                17888    USD   $66,120    11-Deo15       17886
     GE Oll & GAS   LOGGING SERVICES,   PDVSA
     C.A                                PETRÓLEO                17006    USD   $B7,800    11-0e0-16      17888
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     GA                                 PETRÒLEO                17890    USD   $51 ,202   11-Deo-16      17890
     GE OlL & GAS   LOGGING SERVICES,   PDVSA
     0.A                                PETRÓLEO                17867    USD   $61,203    11-Deo>18      17867
     GE 01L & GAS   LOGGING SERVICES,   PDVSA
     CA                                 PETROLEO                17869    USD   801.200    11-Deo-15      17869
     GE OlL a GAS   LOGGING SERVICES,   PDV8A
     C.A                                PETROLEO                17571    USD   S70,200    11-Deo-15      17871
     GE OlL & GAS   LOGGING 5ERVICES,   PDVSA
     C.A                                PETROLEO                17874    USD   S25,500    11-Deo-15      17874
     GE 01L 6 GAS   LOGGING SERVICE9,   PDV8A
     C.A                                PETROLED                17676    USD   S57,620    11-Dec-15      17878
     GE 01L & GAS   LOGGING SERVICES,   PDVSA
     C.A                                PETROLED                17878    USD   567,872    11-Dec-15      17878
     GE 01L & GAS   LOGGING SERVICES,   PDVSA
     C.A                                PETROLEO                17880    USD   $50,005    11-Deo-1.5     17580
     GE OL 8 GAS    LOGGING SERVICES,   PDVSA
     G.A                                PETROLEO                17602    USD   $63,900    11-Deo15        17882
     GE OL & GAS    LOGGING SERVLCES,   PDVSA
     C.A                                PETRÓLEO                17884    USD   $50,000    11-Dec-16       17884
     GE Olt 8 GAS   LOGGING SERVICES    PDVSA
     C.A                                PETROLE0                1·7892   USD   363,543    16-0e0-15       17892
     GE OlL 8 GAS   LOGGING SERVICES,   PDVSA
     C.A                                PETRÓLEO                17894    USD   S69,600    16-Deo-16       17894

     GE Oll.. & GAS LOGGING SERVICES,   PDVSA                   17896    USD   $50,002    18-Dee-15       17896


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                                         PETRÓLEO
     GE OIL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETRÔLEO                  17800   USD   $25,500    23-Dec45           17900
     GE OJL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17902   USD   $80,003    230s0-15           17902
     GG OIL & GAS    LOGGING SERVICES,   PDVSA
     OA                                  PETROLEO                  17904   USD   $80,000    23-0ac-15          17904
     GE OfL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17917   USD   $75.084    284ari-16          17917
     GE OIL& GAS     LOGGING SERVICES,   PDVSA
     CA                                  PETRÓLEO                  17915   USD   380,900    28-Jan-18          17915
     GE 01L a GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETRÓLEO                  17913   USD   564.800    28-Jan-16          17918
     GE Oft & GAS    LOGGENG SERVICES,   PDVSA
     CA                                  PETRÓLEO                  17911   USD   $60,000    28-Jap-16          17911
     GE OIL & GAS    LOGG£NG SERVICES,   PDVSA
     CA                                  PETRóLEO                  17909   USD   $B4.920    28-Jan-16          17909
     GE Oft & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETRÓLEO                  17907   USD   $S1,200    284a046            17907
     GE OIL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17919   USD   $60,000    284arv16           17919
     GE OEL& GAS     LOGGING SERVICES,   POVSA
     CA                                  PETRÒLEO                  17921   USC   $60.000    264an-16           17921
     GE Ol.L & GAS   LOGGING GERVICES,   PDVSA
     CA                                  PETRÔLEO                  17923   USD   $74.405    10-Feb-16          I7923
     GE OtL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETRÓLEO                  17925   USD   $01,203    10-Feb-1.6         17925
     GE Oft & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17927   USD   $72,000    10-feb+16          17927
     GE OfL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLED                  17929   USD   560,002    10-Feb-10          17929
     GE CIL & GAS    LOGGING SERVicES,   PDVSA
     CA                                  PETROLEO                  17933   USD   $89,000    10-Feb-16          17933
     GE OlL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17934   USD   $86.390    10-Fef3-16         17934
     GE OIL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17936   USD   664,520    16-Feb48           17938
     GE OIL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17938   USD    61,206    16-Feb-16          17938
     GE OIL & GAS    LOGGING SERVICES.   PDVGA
     CA                                  PETROLEO                  17940   USD   $78,204    16-Feb-16          17940
     GE OIL & GAS    LOGGING SERVICES,   PDV6A
     CA                                  PETROLEO                  17942   USD   361,600    1.6-Feb-16         17942
     GE OIL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17845   USD   565,412    24-Feb46           17946
     GE OIL & GAS    LOGGING SERVlCES,   PDVSA
     CA                                  PETRÓLEO                  17949   USD   564.428     4War.16           17949
     GE 01L & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17947   USD   $78,000     4   ar-16         17947
     GE OlL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEQ                  17958   USD   $73,778     14-Mar-16         17968
     GE OIL & GAS    LOGGING SERVfCES,   PDVSA
     CA                                  PETROLEO                  17959   USD   $62 400     14-Mar-16         17959
     GE OfL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17960   USD   $25,500     14-Mar-16         17960
     GE 01L & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17981   USD   $69,6D2     14-Mar-16          17961
     GE OlL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETRÔLEO                  17963   USD   $63,600     29-Mer-16          17953
     GE OIL & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETRÓLEO                  17966   USD    S60,008    29Ne16             17965
     GE 01L & GAS    LOGGING S£RVICES.   FOVSA
                                         PETRÔLEO                  17987   USD    900,000    29-M$r-16          17967
     CA
     GE Oft & GAS    LOGGING SERVICES,   PDVSA
     CA                                  PETROLEO                  17969   USD   SGS,400     29WaFIS            17969
     GE OIL & GAS    LOGGING SERVICES,   PDVSA
                                         PETRÓLEO                  17971   USD    366,940    29 MaM6            17971
     CA

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      GE 01L & GAB LOGGING SERVICES.     PDVSA
      C.A                                PETROLEO                    17973             USD               $63,600     29-Mar-16         f7973
      GE QIL & GAS LOGGING SERVICES,     PDVSA
      C.A                                PETRÓLEO                    17975             USD               SB2,200     29-Mar-16         17975
                                         PDVSA
      VETUC GRAY DE VENEZUELA, C.A.      PETRÓLEO                  M23613-2            USD                44,682     18-Feb-16       M 23613-2
                                         PDVSA
      VETCo GRAY DEVENEZUELA,       CA   PEmÓLEO                   M23825-2            USD               S18,728     25-Fet»15       M23525-2
                                         PDVSA
     VETCO GRAY DE VENEZUE¼         CA   PETROLEO                  M23926-2            USD                54,682     26-Feb-15       M23626-2
                                         PDVSA
     VETCC GRAY DE VENEZUE¼         CA   PETRÓLEO                  M23822-2            USD                $it341     23-Felw15       M23622-2
                                         PDVSA
      VETCo GRAY DE VENEZUEtA       CA   PETRÓLEO                  M23621.2            USD               $32,774     23-Feb-15       M23521-2
                                         PDVSA
     VETCO GRAY DEVENEZUELA,        CA   PETROLEO                  M23650-2            USD                SS,269     23416v-15       M23666-2
                                         PDVSA
     VETCO GRAY DE VENEZUELA. CA         PETRÓLEO                  M23658-2            USD               S18,160     23-Nov-15       M23858-2
                                         PDVSA
     VETCO GRAY DE VENEZUELA, C.A.       PETRóLEO                  M23659-2            USD               $12,922     23-Nov-16       M23699-2
                                         PDVSA
     VETCO GRAY DE VENEZUELA, C.A.       PETRóLEO                  M23660-2            USD               $1.9,727    23-Nov-15       M28000-2
     TURBINAS Y MECANICA     C.A.        PDVSA GAB                 410002911           USD              $257,600     14-JuF15        410002911
     TURBINAS Y MECANICA, C.A.           PDVSA GAS                 410002917           USD               $86,242     19-Oct-15       41.00D2917
     TURBINAS Y MECANt0A. C.A.           PDVSA GAS                    161              USD              5130,317     20-Nov-12             161
     TURBINAS Y MECANiCA. CA             PDVSA GAS                    173              USD               $15 087     28-Nov-12             173
     TURBINAS Y MECAN1CA, GA             PDVSA GAS                    175              USD               S12,71.0    28-Nov-12             175
     TURBINAS Y MEGANICA, CA             PDVSAGAS                     177              USD               $42,111     28-Nov-12             177
     TURBINAS Y MECANJCA, CA             POVSA GAS                    185              USD              $409.368     304109-12             105
     TURBINAS Y MECANICA, CA             POVSA GAS                    193              USD               512.466     184ee-12              193
     'lURBINAS   Y MECANICA, C.A.        PDVSA GAS                    209              USD                 $4,008    30-Apr-13             209
     TURBINAS Y MECANICA, CA             POVSA GAS                    217              USD                 $7,694    8-May-13              217
     TURB[NAS Y MECANICA, CA             POVSA GAS                    320              USD                 $1.S65    27-Nov-13             S20
     TURBINAS Y MECANICA. CA             PDVSA GAS                    SBS              USD                 58,330    26-Mer-14             383
     TURBINAS Y MECANICA. CA             PDVSA GAS                    403              USD               $19.227     10-Sep-14             403
     TURBJNAS Y MECANICA, C.A.           PDVSA GAS                    404              USD               S23,978     10-Sep-14             404

                                                            .. .. .... ... .....   .    ....... .....__.....
                                         TOTAL USD                                     B21            S118.009,2B3
                                                                                                                                 .    ..
                                         TOTAL EUR                                     223          $67.129.636




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